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                            No. 2022-1493, -1547

             United States Court of Appeals
                 for the Federal Circuit
                             ______________________




                      SISVEL INTERNATIONAL S.A.,
                               Appellant

                                      v.

           CRADLEPOINT, INC., SIERRA WIRELESS, INC.,
             THALES DIS AIS DEUTSCHLAND GMBH,
                           Appellees
                    ______________________


     Appeals from the United States Patent and Trademark Office,
          Patent Trial and Appeal Board in IPR2020-01099


                       BRIEF FOR APPELLANTS



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Dated:      June 30, 2022
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1. A method of transmitting data in a radio system from a transmitter to a receiver,
the method comprising:

      channel coding a data block into a coded data block by using a selected
      channel coding;

      puncturing the coded data block by using a first puncturing pattern;
      transmitting the coded data block punctured by the first puncturing pattern to
      the receiver;

      detecting a need for retransmission of the received coded data block;

      transmitting a retransmission request of the coded data block to the
      transmitter;

      increasing the code rate of the coded data block to be retransmitted by
      puncturing the coded data block coded by the channel coding of the original
      transmission using a second puncturing pattern including fewer symbols to
      be transmitted than the first puncturing pattern;

      transmitting the coded data block punctured by the second puncturing
      pattern to the receiver;

      combining the received coded data block punctured by the first puncturing
      pattern and the received coded data block punctured by the second
      puncturing pattern; and

      decoding the channel coding of the combined coded data block.

2. The method of claim 1, wherein the symbols to be transmitted of the first
puncturing pattern and the second puncturing pattern together comprising as many
of the symbols of the coded data block as possible.

3. The method of claim 1, wherein the code rate of the punctured coded data block
does not exceed 1.

9. A radio transmitter comprising:




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a channel coder for channel coding a data block into a coded data block by
using a selected channel coding and for puncturing the coded data block by
using a first puncturing pattern;

transmission means for transmitting the coded data block punctured by the
first puncturing pattern to a receiver; and

means for receiving a retransmission request of the coded data block;
wherein:

the channel coder increases the code rate of the coded data block to be
retransmitted by puncturing the coded data block coded by the channel
coding of the original transmission using a second puncturing pattern
comprising fewer symbols to be transmitted than the first puncturing pattern;

the transmission means transmit the coded data block punctured by the
second puncturing pattern to the receiver.




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                         CERTIFICATE OF INTEREST

Counsel for Appellants certifies the following:

      1.     The full names of every party represented by me are:

             Sisvel International S.A.

      2.     The names of the real parties in interest represented by me are:

             N/A.

      3.     Parent corporations and publicly held companies that own 10% or

more of stock in the party:

             Fineur International S.A.

      4.     The names of all law firms and the partners and associates that have

appeared for the party in the agency or are expected to appear for the party in this

Court and who are not already listed on the docket for this case are:

             Devlin Law Firm LLC: Timothy Devlin, Neil Benchell, Stephanie

             Berger, and Andrew DeMarco

      5.     This Court’s decision in this appeal may directly affect the following

pending cases:

             Sisvel Int’l S.A. v. Xirgo Techs., No. 19-cv-01145 (D. Del.);

             Sisvel Int’l S.A. v. VeriFone Sys., Inc., No. 19-cv-01144 (D. Del.);

             Sisvel Int’l S.A. v. Cradlepoint, Inc., No. 19-cv-01142 (D. Del.);

             Sisvel Int’l S.A. v. Honeywell Int’l, Inc., No. 19-cv-01143 (D. Del.);


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           Sisvel Int’l S.A. v. Ford Motor Company, No. 21-cv-01745 (D. Del.)

     6.    This case involves no organizational victims or bankruptcy cases.

Dated:     June 30, 2022                         /s/ Timothy Devlin
                                                 Timothy Devlin




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                      STATEMENT OF RELATED CASES

      Under Fed. Cir. R. 47.5(a), counsel for Appellant Sisvel International S.A.,

(“Appellant”), certifies that no other appeal from the same proceeding in the

United States Patent and Trademark Office (“PTO” or “Patent Office”), Patent

Trial and Appeal Board (“PTAB” or “the Board”), is or was previously before this

Court or any other appellate court, whether under the same or a similar title.

      Under Fed. Cir. R. 47.5(b), counsel for Appellant states that the Court’s

decision in this appeal may affect the following judicial and administrative matters:

      Sisvel Int’l S.A. v. Xirgo Techs., No. 19-cv-01145 (D. Del.);

      Sisvel Int’l S.A. v. VeriFone Sys., Inc., No. 19-cv-01144 (D. Del.);

      Sisvel Int’l S.A. v. Cradlepoint, Inc., No. 19-cv-01142 (D. Del.);

      Sisvel Int’l S.A. v. Honeywell Int’l, Inc., No. 19-cv-01143 (D. Del.);

      Sisvel Int’l S.A. v. Ford Motor Company, No. 21-cv-01745 (D. Del.)




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                      JURISDICTIONAL STATEMENT

      This appeal is from the PTAB’s final written decision (“FWD”), issued

January 18, 2021, in Case No. IPR2020-01099, finding claims 1-3, and 9 (the

“invalidated claims”) of U.S. Patent No. 6,529,561 (“the ’561 patent”) unpatentable.

Appellant filed a timely notice of appeal under 35 U.S.C. §§ 141-142 and 37 C.F.R.

§ 90.2 on February 23, 2022. (D.I. 1-2.) This Court has jurisdiction under 28 U.S.C.

§ 1295(a)(4)(A) and 35 U.S.C. § 141(c).




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I.    STATEMENT OF THE ISSUES

      1.     Was the Board’s ruling in its Final Written Decision arbitrary and

capricious when it decided that the prior art disclosed the use of a first and second

data puncturing, which is not supported by substantial evidence,

      2.     Was the Board’s ruling in its Final Written Decision arbitrary and

capricious when it decided that Chen disclosed combining coded data blocks, even

though the Board failed to set forth a sufficiently detailed explanation of its

determinations?

II.   STATEMENT OF THE CASE
      Sisvel appeals the Board’s rulings that invalidated claims 1-3 and 9 (the

“invalidated claims”) of U.S. Patent No. 6,529,561 B2 (“the ’561 patent”) as

obvious based on the Chen reference. (Appx00059-060.) Patent Owner does not

dispute that Chen is prior art to the ’561 patent.

      The key disputes in this appeal relate to the faulty reasoning underlying the

Board’s ruling in the Final Written Decision, or the lack of articulated reasoning in

the Final Written Decision. Specifically, the Board found that the Chen reference

disclosed data puncturing—a technique used throughout the ’561 patent—despite

evidence presented by Patent Owner that data puncturing is a wholly different

technique than that disclosed in Chen. (Appx0021-22, 00308, 00483-484, 02540-

02542, 02603-604, 02614-2616.) Patent Owner demonstrated that Chen



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specifically endorses a technique known as “interleaving” which is different from

the concept of “combining” disclosed and claimed by the ’561 patent. Patent

Owner provided evidence that the difference between these two methods would

have been readily understood by a POSITA reading the Chen reference.

(Appx00566, 02541-42, 02542.) Indeed, there is evidence in the record that Chen

teaches away from combining. (Appx02542.)

      In finding that the Chen reference disclosed the element of combining two

received coded data blocks punctured by a first and second puncturing pattern,

respectively, the Board ignores expert testimony. Patent Owner provided expert

testimony indicating that a POSITA would understand Chen’s “interleaving”

method to be distinct from the ’561 patent’s “combining” due to operating in

completely different manners and achieving different ends. (Appx02538-42; see

also Appx02603-604.) Moreover, Patent Owner identified sections in Chen

demonstrating that interleaving is a completely separate technique from combining

(contrary to the Board’s decision), and that interleaving is preferred.

(Appx0000297, 00483, 00571-572.) Despite the above, the Final Written Decision

spares a single sentence from the Board indicating that it is “not persuaded” by the

express language of the Chen reference or Patent Owner’s expert with no further

elaboration. (See Appx00037.)




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        Because the Final Written Decision goes against the weight of substantial

evidence, it is therefore capricious and arbitrary. Further, the Final Written

Decision offers no guidance regarding the element of “combining,” and so it does

not allow for meaningful judicial review as to that element.

        Accordingly, Patent Owner respectfully requests that the Board’s Final

Written Decision be vacated and these proceedings be remanded to the PTAB to

allow the Board to make further findings and to provide “a sufficiently detailed

explanation of its determinations . . . to enable meaningful judicial review.

Rovalma, S.A. v. Bohler-Edelstahl GmbH & Co. KG, 856 F.3d 1019, 1024 (Fed.

Cir. 2017).

III.    STATEMENT OF THE FACTS

        A.     The Patented Technology

        The ’561 patent is a U.S. national stage filing of international application no.

PCT/FI00/00755, filed on September 7, 2000. (Appx00143.) The ’561 patent

pertains to a method and apparatus of transmitting data in a radio system such that

user data throughput is increased while decreasing transmission delays and data

loss.   (Appx00151; Appx002537.) To accomplish this objective, the ’561 patent

employs methods of puncturing and incremental redundancy to assist in channel

coding.      (Appx00152; Appx002537.)

        Channel coding, generally, is a technique for ensuring that data transmitted



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 from a transmitter to a receiver arrives intact and uncorrupted. (Appx00154;

 02536.) To accomplish this, the technique tacks on additional bits of data to a

 “coded data block” to ensure detection and correction of errors. (Appx02536.)

 Transmitting this additional information, however, as the consequence of drawing

 on additional network resources. (Appx02536.)

      “Incremental Redundancy” or “IR” is a technique wherein a receiver stores

 coded data blocks in its memory, and in the event of errors, combines

 retransmitted data blocks with the originally transmitted data block to assist in

 decoding. (Appx02536.) In this way, detections of errors at a receiver can

 decrease the number of wholly redundant retransmissions of an entire data block

 by storing data as required to remedy damage occurring during transmission.

 (Appx02536-537.)

      More specifically, the ’561 patent is directed to correcting these data blocks

that become damaged during transmission as described above.        (Appx02537-

538.) The claimed method uses a second puncturing pattern to “puncture-out”

only the data needed to correct errors at the receiver-end, and retransmitting that

data for combination with the compromised original data block at the receiver that

had been subjected to a first, different puncturing pattern, resulting in increased

network efficiency. (Appx02537-538.) By puncturing both the original

transmission and the retransmission data blocks at increasing code rates


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respectively, an improved level of redundant information for data integrity is

maintained while increasing the amount of data transmitted during use of network

resources. (Appx02537-538.)

      The ’561 patent further teaches a “combining” process in which the

information obtained from retransmission is collated with the originally transmitted

data block to make it whole again. (Appx02537-538.) The process of

“combining” the two data blocks allows a UE to perform error correction while

maintaining optimal use of network availability, as the second puncturing pattern

on the retransmission ensures that only the data needed to make the originally

transmitted data block whole is retransmitted. (Appx02537-538.) The ’561

patent’s innovation is an improvement over concepts such as interleaving, which

require the retransmission of the entire original data block, and thus may put

unnecessary strain on network availability. (Appx02537-538.)

      B.     The Claims at Issue
      Petitioner challenged the validity of all claims of the ’561 patent.

(Appx00186.) The Board found only claims 1-3 and 9 unpatentable, on the

grounds that the claims were obvious in light of Chen. (Appx0059-61.) Claims 1

and 9 are independent claims; claims 2 and 3 depend from claim 1. (Appx00156.)

      Claim 1 is reproduced below:

      1. A method of transmitting data in a radio system from a transmitter
      to a receiver, the method comprising:


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     channel coding a data block into a coded data block by using a
     selected channel coding;
     puncturing the coded data block by using a first puncturing pattern;

     transmitting the coded data block punctured by the first puncturing
     pattern to the receiver;
     detecting a need for retransmission of the received coded data block;

     transmitting a retransmission request of the coded data block to the
     transmitter;

     increasing the code rate of the coded data block to be retransmitted by
     puncturing the coded data block coded by the channel coding of the
     original transmission using a second puncturing pattern including
     fewer symbols to be transmitted than the first puncturing pattern;
     transmitting the coded data block punctured by the second puncturing
     pattern to the receiver;
     combining the received coded data block punctured by the first
     puncturing pattern and the received coded data block punctured by the
     second puncturing pattern; and

     decoding the channel coding of the combined coded data block.
(Appx00156.)

     Claim 9 is reproduced below:

     9. A radio transmitter comprising:

     a channel coder for channel coding a data block into a coded data
     block by using a selected channel coding and for puncturing the coded
     data block by using a first puncturing pattern;

     transmission means for transmitting the coded data block punctured
     by the first puncturing pattern to a receiver; and

     means for receiving a retransmission request of the coded data block;
     wherein:



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      the channel coder increases the code rate of the coded data block to be
      retransmitted by puncturing the coded data block coded by the
      channel coding of the original transmission using a second puncturing
      pattern comprising fewer symbols to be transmitted than the first
      puncturing pattern;
      the transmission means transmit the coded data block punctured by
      the second puncturing pattern to the receiver.
(Appx00156.)

      C.     Prior Art at Issue—Chen

      International Patent Publication No. WO 99/26371, entitled “Method and

apparatus for time efficient retransmission using symbol accumulation” (“Chen”)

describes a method and apparatus for retransmission of data using interleaving, or

“symbol accumulation,” in a CDMA environment. (Appx01200.) In particular,

Chen advocates for the “interleaving” or “accumulating” of coded data blocks

which are not punctured (i.e., have coded data bits removed prior to transmission)

at two different code rates but are encoded from the outset at different code rates.

(Appx01204; Appx01215; Appx01219.)

      As discussed above, the ʼ561 patent claims recite “combining” data blocks

punctured by two puncturing patterns. Chen teaches “interleaving” blocks, which

would have been recognized by a POSITA as different from combining. (Appx

02541-42, Appx02542.) In fact, Chen explicitly disclaims combining in favor of

interleaving: “[a]t the receiver, the code symbols for the retransmitted packets are




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interleaved (not combined) with the corresponding code symbols from prior

transmissions.”1 (Appx01200.)

IV.      SUMMARY OF THE ARGUMENT
         The Board’s ruling in the Final Written Decision was arbitrary and

capricious for at least two reasons. First, in deciding that Chen discloses the use of

a second puncturing pattern, the Board drew its conclusion contrary to the weight

of evidence which indicates that Chen does not disclose puncturing whatsoever,

much less the use of a second puncturing pattern. Second, the Board failed to set

forth a sufficiently detailed explanation of its determination that Chen discloses

combining to enable meaningful judicial review and prevent judicial intrusion on

agency authority, as required by the Federal Circuit. See, e.g., Rovalma at 1024.

         First, the Board’s determination that Chen’s method of encoding code blocks

at different code rates discloses the ’561 patent’s method of data puncturing goes

against the substantial weight of evidence. Patent Owner provided uncontroverted

expert testimony that data puncturing is a procedure where coded data bits are

removed from a coded data block. (Appx02536; Appx02602; Appx02613.) The

sole embodiment relied on by Petitioner concerns only a method of encoding data

blocks at two different code rates, not using two different puncturing patterns to

alter the code rates of an original and retransmitted data block. (Appx02602.) In


1
    Unless otherwise noted, all emphasis in this brief is added.

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light of this substantial evidence, a ruling that Chen discloses the use of a second

puncturing pattern must be considered arbitrary and capricious.

      Second, the Board’s Final Written Decision fails to address arguments which

Patent Owner raised in its Response and Sur-Reply—arguments which Patent

Owner identified had been left wholly unrebutted by Petitioner in those same

briefs. Specifically, Patent Owner provided unrebutted expert testimony that the

technique of interleaving would be understood by a POSITA to refer to a particular

kind of retransmission involving the use of matrices to spread-out errors during a

transmission—not, as Petitioner asserts, a technique of combining data blocks or

“accumulating symbols.” (Appx02621-622; see Appx00572.) Indeed, Patent

Owner identified specific instances within the Chen reference where Chen

delineates between “combining” and its process of “interleaving,” stating that

blocks are to be “interleaved (not combined).” (Appx00483-84; Appx00571.)

Petitioner’s arguments, adopted by the Board in its Final Written Decision, that

interleaving is simply a more precise definition or subset of combining is directly

belied by the distinction that Chen draws above—wherein in additional rejects the

technique of combining. (Appx0036-37.)

      The Final Written Decision acknowledges these arguments, but merely

states that the Board does not find them persuasive without further explanation.




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(Appx0037-38.) This conclusory determination fails to provide the basis for

meaningful judicial review. See, e.g., Rovalma at 1024.

V.    ARGUMENT
      A.     Standards of Review Section

      This Court reviews decisions by the Board according to the standards of

review set forth in the Administrative Procedure Act (“APA”). In re Chapman, 595

F.3d 1330, 1336-37 (Fed. Cir. 2010). Accordingly, this Court reviews the Board’s

legal conclusions de novo and its factual findings for substantial evidence. Id.; see

5 U.S.C. § 706(2); see also Rambus Inc. v. Rea, 731 F.3d 1248, 1251 (Fed. Cir.

2013); Ariosa Diagnostics v. Verinata Health, Inc., 805 F.3d 1359, 1364 (Fed. Cir.

2015); Chemours Co. FC, LLC v. Daikin Indus., 4 F.4th 1370, 1374 (Fed. Cir.

2021).

      Obviousness is a question of law based on underlying findings of fact.

Chemours at 1374; see also In re NuVasive, Inc., 842 F.3d 1376, 1381 (Fed. Cir.

2016). “What the prior art teaches, whether a person of ordinary skill in the art

would have been motivated to combine references, and whether a reference teaches

away from the claimed invention are questions of fact.” Id. (citing Meiresonne v.

Google, Inc., 849 F.3d 1379, 1382 (Fed. Cir. 2017)).

      When considering whether a PTAB finding meets the substantial evidence

standard, the Court considers whether a reasonable factfinder could have arrived at



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the decision.   Pers. Web Techs., LLC v. Apple, Inc., 848 F.3d 987, 991 (Fed. Cir.

2017). Substantial evidence requires more than a “mere scintilla” and must be

enough such that a reasonable mind could accept the evidence as adequate to

support the conclusion. Chemours at 1374 (citing Consol. Edison Co. v. NLRB,

305 U.S. 197, 229, 59 S. Ct. 206, 83 L. Ed. 126 (1938)). The Court reverses when

a PTAB factual finding about the disclosures of the prior art is not based on

substantial evidence. See Institut Pasteur v. Focarino, 738 F.3d 1337, 1345 (Fed.

Cir. 2013).

      “We review the Board’s decisions under the Administrative Procedure Act

(APA). Taking ‘due account . . . of the rule of prejudicial error,’ we must ‘hold

unlawful and set aside agency action, findings, and conclusions found to be . . .

arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law,’ ‘without observance of procedure required by law,’ or ‘unsupported by

substantial evidence.’ 5 U.S.C. § 706. In applying those standards, ‘we will

uphold a decision of less than ideal clarity if the agency’s path may reasonably be

discerned,’ but ‘we may not supply a reasoned basis for the agency’s action that

the agency itself has not given.’” Rovalma, S.A. v. Bohler-Edelstahl GmbH &

Co. KG, 856 F.3d 1019, 1024 (Fed. Cir. 2017) (citing Bowman Transp., Inc. v.

Ark.-Best Freight Sys., Inc., 419 U.S. 281, 285-86, 95 S. Ct. 438, 42 L. Ed. 2d

447 (1974); SEC v. Chenery Corp., 332 U.S. 194, 196-97, 67 S. Ct. 1575, 91 L.


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Ed. 1995 (1947)). “Thus, the Board must, as to issues made material by the

governing law, set forth a sufficiently detailed explanation of its determinations

both to enable meaningful judicial review and to prevent judicial intrusion on

agency authority.” Id.; see SEC v. Chenery Corp., 318 U.S. 80, 88, 94, 63 S. Ct.

454, 87 L. Ed. 626 (1943); Personal Web Technologies, LLC v. Apple, Inc., 848

F.3d 987, 991-93 (Fed. Cir. 2017); In re NuVasive, Inc., 842 F.3d 1376, 1382-83

(Fed. Cir. 2016).

      “A decision is arbitrary and capricious when the agency fails to articulate a

‘rational connection between the facts found and the choice made.’”      In re Vivint,

Inc., 14 F.4th 1342, 1351 (Fed. Cir. 2021) (citing Motor Vehicle Mfrs. Ass’n of

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, 103 S. Ct. 2856, 77

L. Ed. 2d 443 (1983)).

      B.     The Board’s Decision was Arbitrary and Capricious and Not
             Supported by Substantial Evidence

             1.     The Board’s Finding that Chen Disclosed the Use of a
                    Second Puncturing Pattern is not Supported by the
                    Evidence
      The claims of the ’561 patent require that a received coded data block

punctured by a first puncturing pattern is combined with a received coded data

block punctured by a second puncturing pattern. (Appx00156.) The Board’s

determination that Chen discloses data puncturing at all, let alone a using first and

second puncturing pattern, goes against the substantial weight of the evidence.


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Further, the Board fails to sufficiently describe the rationale for finding that Chen

discloses combining despite significant evidence to the contrary.

                    a.     Chen’s selective retransmission method does not
                           constitute data puncturing

      The Final Written Decision states that “we are persuaded that ‘a POSITA at

the relevant priority date would have understood that Chen’s teachings to

selectively transmit only a subset of the convolutional encoder’s output is data

puncturing.’” (Appx00028) (emphasis in original.) But this determination is not

supported by the evidence.

      Petitioners argued that Chen’s method of simply encoding a data block at a

particular code rate constitutes data puncturing. (Appx00028.) Patent Owner

provided expert testimony to the contrary:

      At 14:13-24 of Chen, what the reference is disclosing is the use of
      differing amounts of generators during the encoding step to achieve a
      differing code rates [sic] among transmissions and retransmissions
      alike. Indeed, this makes sense in context as Chen is discussing how a
      “convolutional encoder is designed for the necessary code rate.” (Ex.
      1003 at 13:28-30.) Chen is discussing the means by which an
      encoded data block is created with different ratios of redundant data
      bits, not methods of changing those ratios in the encoded data blocks
      once encoded by removing redundant data bits. Simply encoding a
      data block at a code rate does not constitute puncturing, which—as
      acknowledged by the ’561 patent—is the removal of encoded data
      bits from a coded data block. (See, Ex. 1001 at 7:35-39; 7:46-47.)




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(Appx02601-602.) The ’561 patent is explicit—data puncturing is not simply

encoding at a different code rate, but removing data bits from an already encoded

data block:

      Next, in block 504, the coded data block 402 is punctured using a
      first puncturing pattern 404. Puncturing refers to removal coding, i.e.
      a procedure where the number of coded symbols is decreased by
      removing a certain number of symbols. The symbols to be removed
      can be defined by a puncturing pattern.

(Appx00154.)

      Petitioner’s own expert agreed. In his declaration, Dr. Kakaes stated that

“puncturing is a technique for tailoring the code rate of a transmission by

selectively removing coded data bits (or symbols) from the coded data block.”

(Appx00922-23.) Dr. Kakaes repeated this in his deposition, stating that data

puncturing is “a technique for tailoring the code rate of a particular transmission.

In other words, tailoring which bits are transmitted, and you do that by selectively

removing coded data bits from the set of coded data block.” (Appx02613.)

      Despite all of this testimony, the Board merely noted that it agrees with

Petitioner’s expert that “Chen’s selective transmission (i.e., puncturing) of the

output from only certain generators is also consistent with the only embodiment of

the ’516 patent[.]” (Appx00030-31).) The Board ignores the substantial evidence

regarding this difference in technique, focusing instead on alleged similarities

between code rates—rates that Petitioner and the Board concede are different. (See



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Appx00031) (noting that the Chen encodes from a 1/4 convolutional encoder,

whereas the ’561 patent encodes from a 1/3 convolutional encoder.) The Board’s

determination thus ignores the substantial weight of evidence regarding Chen’s

failings to disclose data puncturing.

                    b.       Chen teaches away from the use of a second
                             puncturing pattern

      Weighing further against Chen disclosing the use of a second puncturing

pattern, Chen teaches away from the use of data puncturing entirely. As the Board

notes in the Final Written Decision, a reference teaches away when a person of

ordinary skill “upon reading the reference, would be discouraged from following

the path set out in the reference, or would be led in a direction divergent from the

path that was taken” by the claimed invention. (Appx00034 (citing Galderma

Labs., L.P. v. Tolmar, Inc., 737 F.3d 731, 738 (Fed. Cir. 2013) (internal quotations

omitted).)

      While Chen discloses that puncturing, generally, may be of use, it complains

that “[p]uncturing reduces the number of code symbols to be retransmitted but also

reduces the correcting capability of the convolutional code.” (Appx01214.) The

Final Written Decision notes that Chen also discloses that code rates can be

generated using punctured codes, but warns against it, as above. (Appx00034.)

This is not a mere “tradeoff,” as the Board suggests, but here Chen is suggesting

that this method is not preferred.


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             2.    The Board’s Finding that Chen’s Interleaving Method
                   Discloses the ’561 Patent’s Combining Insufficiently
                   Detailed

      “[T]he Board must, as to issues made material by the governing law, set

forth a sufficiently detailed explanation of its determinations both to enable

meaningful judicial review and to prevent judicial intrusion on agency authority.”

Rovalma at 1024. Here, the Board failed to provide a “sufficiently detailed

explanation” for its rejection of Patent Owner’s arguments of nonobviousness for

the reasons set forth below, and thus the Final Written Decision below does not

enable meaningful judicial review. See Rovalma at 1024. The Final Written

Decision is therefore arbitrary and capricious and should be vacated, with these

proceedings remanded to the PTAB for further consideration and clarification.

      In its discussion about the Board’s determination that Chen disclosed the

element of combining the first received coded data block with the second coded

data block, the Board merely sets forth the parties’ arguments, restates that in the

Institution Decision the Board found Dr. Kakaes’ testimony persuasive, and then

claims that “[e]ven having considered Patent Owner’s arguments in its Response

and Sur-Reply and having considered Mr. Bates’ Declaration and deposition

testimony and the entire record developed during trial, we find Patent Owner’s

arguments unavailing.” (Appx00037.) The Board provides no further explanation

except to restate some of its same findings from the institution decision with no



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explanation or analysis. In so doing, the Board failed to address the many

arguments put forth in the Patent Owner in Patent Owner’s Response and Sur-

Reply, after the Institution Decision was made. (See Appx00483-84; Appx00571-

575.)

        The Board’s decision is void of any analysis of Patent Owners post-

Institution arguments, many of which are addressed above. For example, the Board

reiterates its preliminary determination that “a POSITA would understand that

‘interleaving’ is a more specific description of the method of the ’561 patent

described in Figure 4, which the ’561 patent refers to as combining,” despite the

overwhelming evidence provided by Patent Owners that Chen specifically rejects

combining in favor of interleaving (Appx00035-36.) Another example involves

Owner’s expert describes the difference between the two methods as a POSITA at

the time of invention would have understood them.        (Appx02621-622.) These

arguments and discrepancies go unaddressed by Petitioners and the Board.

        The Board also adopts its prior preliminary determination from the

Institution Decision that Chen’s alternate method—accumulating packets—also

constitutes “combining.” (Appx00037-38.) Yet Patent Owner rebutted this

argument in its Response (Appx00484.), which the Board fails to address in its

Final Written Decision. (Appx00037-38.) In fact, Petitioners themselves call this




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very method “interleaving,” which Chen expressly distinguishes from combining

and roundly rejects. (Appx00532.)

      Patent Owner also noted in its response that the packet accumulation method

disclosed in Chen fails to discuss accumulating packets of two coded data blocks

subjected to different puncturing patterns. This is a required element of the ’561

patent claims. (Appx00532.) The only reference made by the Board to Patent

Owner’s arguments was that the Board found them “unavailing.” Missing is any

explanation why they were unavailing.

      By providing no explanation beyond a conclusory statement of disbelief in

Patent Owner’s considerable evidence, the Board fails to “set forth a sufficiently

detailed explanation of its determinations . . . to enable meaningful judicial review”

(Rovalma at 1024) or to “articulate a rational connection between the facts found

and the choices made” (Vivint at 1351) regarding its final determination. See also

TRUSTID, Inc. v. Next Caller, Inc., App. Nos. 2020-1950 and 2020-2028, 2021

U.S. App. LEXIS 29136 at *24 (Fed. Cir. Sept 27, 2021) (non-precedential)

(“Here, the Board merely partially reiterated and summarily rejected [the party’s]

arguments without explanation. This is not sufficient under the [Administrative

Procedure Act] and our precedent.”).

      Accordingly, Patent Owner respectfully requests that the Final Written

Decision be vacated and the proceedings be remanded to the PTAB for further


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consideration and clarification.

VI.   CONCLUSION

      For the foregoing reasons, the Court should vacate the Board’s Final Written

Decision as arbitrary and capricious and remand those proceedings to the PTAB

for further consideration and clarification of the material issues appealed herein.




Dated:       June 30, 2022                    Respectfully submitted,

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                      CERTIFICATE OF COMPLIANCE

      Pursuant to 37 C.F.R. § 42.24(d), the undersigned certifies that there are

3,990 words in this paper, excluding any table of contents, table of authorities,

mandatory notices under 37 C.F.R. § 42.8, certificate of word count, certificate of

service, or appendix of exhibits. This certification relies on the word count of the

word-processing system used to prepare this paper.

                                       /s/ Timothy Devlin
                                       Timothy Devlin




                           CERTIFICATE OF SERVICE

      I hereby certify that on June 30, 2022, I caused a copy of this document to

be served by transmitting it via e-mail or electronic transmission to Appellees’

counsel of record.



                                       /s/ Timothy Devlin
                                       Timothy Devlin




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Trials@uspto.gov                                                 Paper 51
571-272-7822                                     Entered: January 18, 2021


      UNITED STATES PATENT AND TRADEMARK OFFICE


        BEFORE THE PATENT TRIAL AND APPEAL BOARD



                     CRADLEPOINT, INC.,
                 SIERRA WIRELESS, INC., and
             THALES DIS AIS DEUTSCHLAND GMBH,
                           Petitioner,
                                 v.
                   SISVEL INTERNATIONAL S.A.,
                           Patent Owner.



                         IPR2020-01099
                        Patent 6,529,561 B2




Before BARBARA A. PARVIS, AMANDA F. WIEKER, and
MONICA S. ULLAGADDI, Administrative Patent Judges.


ULLAGADDI, Administrative Patent Judge.


                           JUDGMENT
                       Final Written Decision
          Determining Some Challenged Claims Unpatentable
                         35 U.S.C. § 318(a)




                             Appx00001
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Patent 6,529,561 B2
                            I. INTRODUCTION
      Cradlepoint, Inc., Dell Inc., Sierra Wireless, Inc., Thales DIS AIS
Deutschland GmbH, ZTE Corporation, and ZTE (USA) Inc. filed a Petition
requesting an inter partes review of claims 1–10 of U.S. Patent
No. 6,529,561 B2 (Ex. 1001, “the ’561 patent”). Paper 6 (“Pet.”). As ZTE
Corporation and ZTE (USA) Inc. have entered into a settlement agreement
with Sisvel International S.A. (“Patent Owner”) Patent Owner resolving
their disputes concerning the ’561 patent, we terminated these entities from
the proceeding. Papers 34, 35, 36; Ex. 2009. Based on similar filings, we
also terminated Dell Inc. from the proceeding. Papers 47, 48, 49; Ex. 2010.
In this Decision, we collectively refer to the remaining entities––
Cradlepoint, Inc., Sierra Wireless, Inc., and Thales DIS AIS Deutschland
GmbH––as “Petitioner.”
      Sisvel International S.A. (“Patent Owner”) filed a Preliminary
Response. Paper 10 (“Prelim. Resp.”). We instituted an inter partes review
on all challenged claims on all grounds set forth in the Petition. Paper 11
(“Institution Decision” or “Inst. Dec.”).
      Patent Owner thereafter filed a Response to Petition (Paper 25, “PO.
Resp.”), Petitioner filed a Reply (Paper 30, “Pet. Reply”), and Patent Owner
filed a Sur-Reply (Paper 33, “PO Sur-Reply”). An oral hearing was held on
October 19, 2021, and a transcript of the hearing (Paper 50, “Tr.”) has been
entered into the record.
                            II.    BACKGROUND
                           A.     Related Proceedings
      The parties identify the following matters related to the ’561 patent:
      Sisvel International SA et al. v. ZTE (USA), Inc. et al., Case No. 3:19-
cv-01694 (N.D. Tex.) (filed July 15, 2019);

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                                   Appx00002
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      Sisvel International SA v. Dell Inc., Case No. 1:19-cv-01247 (D. Del.)
(filed July 1, 2019);
      Sisvel International SA v. AnyData Corporation, Case No. 1:19-cv-
01140 (D. Del.) (filed June 20, 2019);
      Sisvel International SA v. Blu Products, Inc., Case No. 1:19-cv-01141
(D. Del.) (filed June 20, 2019, transferred to S.D. Fla. as Case No. 1:20-cv-
20813);
      Sisvel International SA v. Cradlepoint, Inc., Case No. 1:19-cv-01142
(D. Del.) (filed June 20, 2019);
      Sisvel International SA v. Honeywell International, Inc., Case No.
1:19-cv-01143 (D. Del.) (filed June 20, 2019);
      Sisvel International SA v. Verifone Systems, Inc., Case No. 1:19-cv-
01144 (D. Del.) (filed June 20, 2019);
      Sisvel International SA v. Xirgo Technologies, LLC, Case No. 1:19-
cv-01145 (D. Del.) (filed June 20, 2019);
      Sisvel International SA et al. v. Tesla, Inc., Case No. 1:19-cv-02288
(D. Del.) (filed Dec. 17, 2019);
      Sisvel International S.A. v. Blu Products, Inc., Case No. 1:20-cv-
20813 (S.D. Fla.) (filed Feb. 25, 2020); and
      u-blox AG et al. v. Sisvel International SA et al., Case No. 3:20-cv-
00494 (S.D. Cal.) (filed Mar. 16, 2020). Pet. 2; Paper 7, 1–2.
                           B.      The ’561 Patent
      The ’561 patent is titled “Data Transmission in Radio System” and
concerns the application of differing puncturing patterns to an original
transmission of a coded data block and to a retransmission of the coded data
block. Ex. 1001, codes (54), (57). The ’561 patent discloses channel-coding
a data block to obtain a coded data block “by using a selected channel

                                      3
                                   Appx00003
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coding.” Id. at 7:21–22. In the example depicted in Figure 4, coded data
block 402 has a code rate of 1/3 because each data symbol has three
corresponding channel-coded symbols. Id. at 7:23–25.
      Coded data block 402 is punctured by removing a certain number of
channel-coded symbols according to first puncturing pattern 404. Id. at
7:34–39. The ’561 patent exemplifies first puncturing pattern 404 with bits
011011011. Id. at 7:39–40. The ’561 patent explains that “[t]he 0 bit
denotes that the channel-coded symbol located at the point in question is
removed, while the 1 bit is not removed.” Id. at 7:40–42. Punctured coded
data block 408 punctured by first puncturing pattern 404 is transmitted, in an
original transmission, to a receiver. Id. at 7:46–48. Thus, the original
transmission comprises the second, third, fifth, sixth, eighth, and ninth
channel-coded symbols, because the first, fourth, and seventh symbols are
removed by the first puncturing pattern (i.e., as denoted by the 0 bits in the
puncturing pattern). Id. at 7:49–52.
      When the receiver is unable to decode coded data block 408, a
retransmission request is transmitted to the transmitter. Id. at 7:55–56,
60–61. The receiver’s capability to decode is detected “either by an error
detection code or by the fact that an error correcting code cannot correct
errors occurring on the channel with sufficient certainty.” Id. at 7:56–59.
The ’561 patent discloses that “the code rate of the coded data block to be
retransmitted is increased . . . by puncturing the coded data block 402” using
second puncturing pattern 406. Id. at 8:4–8. Second puncturing pattern 406
removes more symbols than first puncturing pattern 404. Id. at 8:8–10. The
’561 patent discloses that, “[i]n the example of FIG. 4, the second
puncturing pattern 406 comprises bits 100100100,” which determines that
“only the first and the third symbol thereafter are retained, while other

                                       4
                                  Appx00004
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symbols are removed.” Id. at 8:10–13. In the example, “the punctured and
coded data block 410 used in this retransmission comprises symbols 101, i.e.
the first, fourth, and seventh symbol of the original channel-coded block
402.” Id. at 8:17–20.
      Next, “the received coded data block 408 punctured by the first
puncturing pattern 404 and the received coded data block 410 punctured by
the second puncturing pattern 406 are combined,” which is possible because
“both [coded] data blocks 408, 410 are punctured versions of the same coded
data block 402.” Id. at 8:21–26. In the example of Figure 4:
      The second, third, fifth, sixth, eighth and ninth symbol of a
      combined coded data block 412 are obtained from the coded data
      block 408 punctured by the first puncturing pattern 404, and the
      first, fourth and seventh symbol are obtained from the coded data
      block 410 punctured by the second puncturing pattern 406.
Id. at 8:26–32. Finally, combined coded data block 412 is decoded using,
for example, a Viterbi decoder. Id. at 8:42–43.
                          C. Challenged Claims
      Petitioner challenges claims 1–10 of the ’561 patent. Claim 1, 5, 9,
and 10 are independent. Independent claims 1 and 10 are reproduced below.
             1. A method of transmitting data in a radio system from a
      transmitter to a receiver, the method comprising:
             channel coding a data block into a coded data block by
      using a selected channel coding;
             puncturing the coded data block by using a first puncturing
      pattern;
             transmitting the coded data block punctured by the first
      puncturing pattern to the receiver;
             detecting a need for retransmission of the received coded
      data block;
             transmitting a retransmission request of the coded data
      block to the transmitter;



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                                 Appx00005
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             increasing the code rate of the coded data block to be
      retransmitted by puncturing the coded data block coded by the
      channel coding of the original transmission using a second
      puncturing pattern including fewer symbols to be transmitted
      than the first puncturing pattern;
             transmitting the coded data block punctured by the second
      puncturing pattern to the receiver;
             combining the received coded data block punctured by the
      first puncturing pattern and the received coded data block
      punctured by the second puncturing pattern; and
             decoding the channel coding of the combined coded data
      block.

Ex. 1001, 11:24–49.
      10. A radio receiver comprising:
             reception means for receiving a coded data block channel
      coded by a selected channel coding and punctured by a first
      puncturing pattern;
             a channel decoder for decoding the received coded data
      block;
             means for detecting a need for retransmission of the
      received coded data block; and
             means for transmitting a retransmission request of the
      coded data block to a transmitter;
             wherein:
             the reception means receive the retransmitted coded data
      block whose code rate has been increased by puncturing the
      coded data block coded by the channel coding of the original
      transmission by using a second puncturing pattern comprising
      fewer symbols to be transmitted than the first puncturing pattern;
             the reception means includes means for combining the
      received coded data block punctured by the first puncturing
      pattern and the received coded data block punctured by the
      second puncturing pattern;
             a channel decoder decodes the channel coding of the
      combined coded data block.
Id. at 13:1–14:12.



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                                 Appx00006
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                  D. Asserted Grounds of Unpatentability
       Petitioner challenges claims 1–10 as follows. See Pet. 7.
    Claims Challenged       35 U.S.C. § 1          Reference(s)/Basis
      1–3, 5–7, 9, 10          § 102                     Chen 2
      1–3, 5–7, 9, 10          § 103                     Chen
           1–10                § 103                Chen, Eriksson 3
           1–10                § 103               Chen, GSM 03.64 4
        Petitioner relies on the First and Second Declarations of
Dr. Apostolos Kakaes (Exs. 1002, 1023) as well as the Declarations of
Mr. Craig Bishop (Ex. 1007) and Mr. Gerard Grenier (Ex. 1008) in support
of the contentions in the Petition.
        Patent Owner relies on the First and Second Declarations of
Mr. Regis Bates (Exs. 2001, 2005) in support of its contentions.




1
  The Leahy-Smith America Invents Act (“AIA”), Pub. L. No. 112-29, 125
Stat. 284, 285–88 (2011), amended 35 U.S.C. § 102 and § 103, effective
March 16, 2013. Because the application from which the ’561 patent issued
was filed before this date, the pre-AIA version of § 102 and § 103 applies.
2
  World Intellectual Property Organization Patent Application
No. PCT/US98/24155, filed Nov. 12, 1998, Publication No. WO 99/26371,
published May 27, 1999, to Tao Chen et al. (Ex. 1003, “Chen”).
3
  S. Eriksson et al., “Comparison of Link Quality Control Strategies for
Packet Data Services in EDGE,” 1999 IEEE 49th Vehicular Technology
Conference, May 16–20, 1999 (Ex. 1004, “Eriksson”).
4
  Special Mobile Group of the European Telecommunications Standards
Institute (“ETSI”), Global System for Mobile Communications (GSM)
Technical Specification (TS) 101 350 V8.0.0 (1999–07), “Digital cellular
telecommunications system (Phase 2+); General Packet Radio Service
(GPRS); Overall description of the GPRS radio interface; Stage 2,” GSM
03.64, Version 8.0.0, Release 1999 (Ex. 1005, “GSM 03.64”).

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                                  Appx00007
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                                 III.     ANALYSIS
                            A.          Principles of Law
      “In an [inter partes review], the petitioner has the burden from the
onset to show with particularity why the patent it challenges is
unpatentable.” Harmonic Inc. v. Avid Tech., Inc., 815 F.3d 1356, 1363 (Fed.
Cir. 2016) (citing 35 U.S.C. § 312(a)(3) (requiring inter partes review
petitions to identify “with particularity . . . the evidence that supports the
grounds for the challenge to each claim”)). This burden of persuasion never
shifts to Patent Owner. See Dynamic Drinkware, LLC v. Nat’l Graphics,
Inc., 800 F.3d 1375, 1378 (Fed. Cir. 2015) (discussing the burden of proof in
inter partes review).
      As set forth in 35 U.S.C. § 103(a),
     [a] patent may not be obtained . . . if the differences between the
     subject matter sought to be patented and the prior art are such
     that the subject matter as a whole would have been obvious at the
     time the invention was made to a person having ordinary skill in
     the art to which said subject matter pertains.
The question of obviousness is resolved on the basis of underlying factual
determinations including: (1) the scope and content of the prior art; (2) any
differences between the claimed subject matter and the prior art; (3) the level
of ordinary skill in the art; and (4) when in evidence, objective evidence of
nonobviousness. Graham v. John Deere Co., 383 U.S. 1, 17–18 (1966). An
obviousness analysis “need not seek out precise teachings directed to the
specific subject matter of the challenged claim, for a court can take account
of the inferences and creative steps that a person of ordinary skill in the art
would employ.” KSR Int’l Co. v. Teleflex Inc., 550 U.S. 398, 418 (2007);
accord In re Translogic Tech., Inc., 504 F.3d 1249, 1259 (Fed. Cir. 2007).
However, Petitioner cannot satisfy its burden of proving obviousness by


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                                        Appx00008
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employing “mere conclusory statements.” In re Magnum Oil Tools Int’l,
Ltd., 829 F.3d 1364, 1380 (Fed. Cir. 2016). Instead, Petitioner must
articulate a reason why a person of ordinary skill in the art would have
combined the prior art references. In re NuVasive, 842 F.3d 1376, 1382
(Fed. Cir. 2016). The scope of the prior art includes all analogous art.
Donner Tech., LLC v. Pro Stage Gear, LLC, 979 F.3d 1353, 1359 (Fed. Cir.
2020).
       We analyze the asserted ground of unpatentability in accordance with
these principles to determine whether Petitioner has met its burden to
demonstrate by a preponderance of the evidence that the challenged claims
are unpatentable.
                     B. Level of Ordinary Skill in the Art
       Petitioner does not present a definition for the level of ordinary skill in
the art in its Petition. See generally Pet. In his Declaration, Dr. Kakaes
testifies that:
       A POSITA [person of ordinary skill in the art] at the time of the
       alleged invention (September 10, 1999) would have had a degree
       in electrical engineering or a similar discipline, with at least three
       years of relevant industry or research experience, including
       designing or implementing cellular radio systems for data
       transmission and retransmission. A POSITA would also have
       familiarity with the GSM standard and the EGPRS [Enhanced
       General Packet Radio Service] enhancement.
Pet. 37–38 (citing Ex. 1002 ¶¶ 15–25).
       In its Patent Owner’s Response, Patent Owner states:
       [A] person having ordinary skill at the time of invention—
       September 10, 1999—in the relevant art would be one with a
       bachelor’s degree in electrical engineering or computer sciences
       and telecommunications networks, along with at least three or
       more years of practical experience in the field. A combination


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                                    Appx00009
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       of more experience in the field and less education or more
       education and less experience in the field would also suffice.
PO Resp. 7 (citing Inst. Dec. 9; Ex. 2001 ¶ 27).
       Although there are differences between the contentions of the parties
as to the level of ordinary skill in the art, the parties have not informed us of
a dispute that needs to be resolved. We do not find it necessary to resolve
the differences between the contentions of the parties as to the appropriate
level of ordinary skill in the art because the findings and conclusions
rendered in this Decision do not turn on either proposed definition. We
determine, on this record, that the level of ordinary skill proposed by Patent
Owner is consistent with the ’561 patent and the asserted prior art. As such,
we adopt Patent Owner’s proposed definition for a person of ordinary skill
in the art.
                            C. Claim Construction
       For cases like this one, where the petition for inter partes review was
filed after November 13, 2018, we interpret claim terms in accordance with
the standard used in federal district court in a civil action involving the
validity or infringement of a patent. See 37 C.F.R. § 42.100(b) (2019).
       Claim limitations that include the terms “means” or “means for” are
presumed to invoke 35 U.S.C. § 112 ¶ 6. See Williamson v. Citrix Online,
LLC, 792 F.3d 1339, 1348 (Fed. Cir. 2015) (en banc in relevant part).
Claims subject to 35 U.S.C. § 112 ¶ 6 are construed in a “two-step process,”
whereby we “first identify the claimed function,” and then “determine what
structure, if any, disclosed in the specification corresponds to the claimed
function.” Id. at 1351. Accordingly, the rules governing this inter partes
review require that Petitioner “identify the specific portions of the
specification that describe the structure, material, or acts corresponding to


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                                   Appx00010
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each claimed function.” 37 C.F.R. § 42.104(b)(3). It is well established that
“the corresponding structure for a § 112 ¶ 6 claim for a computer-
implemented function is the algorithm disclosed in the specification.”
Aristocrat Techs. Austl. Pty Ltd. vs. Int’l Game Tech., 521 F.3d 1328, 1333
(Fed. Cir. 2008) (quoting Harris Corp. v. Ericsson Inc., 417 F.3d 1241, 1249
(Fed. Cir. 2005)); see also EON Corp. IP Holdings, LLC v. AT&T Mobility
LLC, 785 F.3d 616, 623 (Fed. Cir. 2015) (“A microprocessor or general
purpose computer lends sufficient structure only to basic functions of a
microprocessor. All other computer-implemented functions require
disclosure of an algorithm.”).
      Petitioner proposes a construction for the term “code rate.”
Separately, with regard to means-plus-function limitations recited in claims
5, 9, and 10, Petitioner provides claim construction contentions that identify
the specific portions of the specification that describe the structure, material,
or acts corresponding to each claimed function, as required by 37 C.F.R.
§ 42.104(b)(3). Pet. 33–37. Patent Owner does not propose a definition for
any claim term nor does it contest any of Petitioner’s proposed
constructions. PO Resp. 7–9.
      In the Institution Decision, we preliminarily construed the means-
plus-function claim limitations as set forth in the table below, but
determined that it was not necessary for us to construe the claim term “code
rate.” Inst. Dec. 11–20 (citing Nidec Motor Corp. v. Zhongshan Broad
Ocean Motor Co., 868 F.3d 1013, 1017 (Fed. Cir. 2017)). 5 Based on the


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  Petitioner notes that “construction may be helpful to establishing the
inverse and counterintuitive relationship between code rate and redundancy
in which an increased code rate (e.g., 1/2) means that fewer redundant bits
are transmitted whereas a decreased code rate (e.g., 1/4) means that more

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entirety of the record developed during trial, we maintain our preliminary
determination that we need not expressly construe “code rate” and our
preliminary determinations for the means-plus-functions terms for the
reasons set forth in our Institution Decision, which we adopt and do not
repeat herein, and which are reflected in the table below. Id. at 11–19.
Because Petitioner presents further argument for its construction of “means
for detecting” in its Petitioner’s Reply––we address that argument below for
completeness.
                                                         Corresponding
       Limitation                  Function
                                                           Structure
                           transmitting the coded
                           data block punctured
 “transmission means for
                           by the first puncturing    a modulator
 transmitting the coded
                           pattern to [the/a]         modulating digital
 data block
                           receiver and               signals to a radio
 punctured by the
                           transmit[ting] the         frequency carrier
 [first/second] puncturing
                           coded data block           wave and equivalents
 pattern to [the/a]
                           punctured by the           thereof
 receiver” (claims 5, 9)
                           second puncturing
                           pattern to the receiver
 “means for detecting a
                           detecting a need for
 need for retransmission                              insufficient
                           retransmission of the
 of the received coded                                algorithmic structure
                           received coded data
 data block” (claims 5,                               identified
                           block
 10)
 means for transmitting a
                           transmitting a
 retransmission request of
                           retransmission request     radio transmitter and
 the coded data block to
                           of the coded data block    equivalents thereof
 [the/a] transmitter”
                           to [the/a] transmitter
 (claims 5, 10)

redundant bits are transmitted.” Pet. Reply 6 (citing Ex. 1002 ¶¶ 52–56,
224–227; Ex. 1024, 39:14–40:22, 41:22–42:7). According to Petitioner, “so
long as this relationship is borne in mind, it ultimately should make no
difference to the Board’s decision whether an express construction is
adopted or not.” Id.

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                                                           Corresponding
        Limitation                  Function
                                                             Structure
 “means for combining
 [a/the] received coded      combining a received
 data block                  coded data block
                                                        symbol combination
 punctured by the first      punctured by the first
                                                        software executed in
 puncturing pattern and      puncturing pattern and
                                                        a processor or
 [a/the] received            a coded data block
                                                        hardware and
 10 coded data block         punctured by the
                                                        equivalents thereof
 punctured by the second     second puncturing
 puncturing pattern”         pattern
 (claims 5, 10)
 “means for receiving a
                             receiving a             radio receiver
 retransmission request of
                             retransmission request demodulator and
 the coded data block”
                             of the coded data block equivalents thereof
 (claim 9)
 “reception means for
                             receiving the coded
 receiving a coded data
                             data block channel-
 block channel-coded by
                             coded by the selected
 a selected channel
                             channel coding and         radio receiver
 coding and punctured by
                             punctured by the first     demodulator and
 a first puncturing
                             puncturing pattern and     equivalents thereof
 pattern”/“reception
                             “receiv[ing] the
 means [to] receive the
                             retransmitted coded
 retransmitted coded data
                             data block”
 block” (claim 10)
      During the oral hearing, Petitioner introduced EnOcean v. Face
International, 742 F3d 955, 959 (Fed. Cir. 2014) and asserted that, in
EnOcean, the relevant question for a means-plus-function term, in particular
a “means for receiving,” is “whether it connotes sufficiently definite
structure to those of skill in the art.” Tr. 10:1–7, 12–15. Petitioner further
argued that the record in this proceeding contains “undisputed testimony in
the record from both of the declarants that a POSITA would have
understood the algorithm connoted by the forward error correction [(FEC)]
software as well as the [cyclic redundancy check (CRC)] error detection


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software” is corresponding structure for the recited “means for detecting.”
Id. at 10:8–11.
      Petitioner’s reliance on EnOcean is untimely and inapposite. On
appeal to the Federal Circuit, “EnOcean challenge[d] the Board’s
determination that its receiver claims invoke § 112, ¶ 6,” citing external
evidence and expert testimony and arguing that “the claim limitation
‘receiver’ is reasonably well understood in the art as a name for a structure
which performs the recited function.” EnOcean, 742 F.3d at 959 (citing
Greenberg v. Ethicon Endo–Surgery, Inc., 91 F.3d 1580, 1583 (Fed. Cir.
1996) (applying this test to the claim term “detent mechanism”)). “Face
respond[ed] by arguing that the claimed ‘receiver’ is defined only in terms
of the function that it performs (i.e., receiving), not its structure” and that “a
receiver is ‘essentially a black box that performs a recited function,’ because
‘how it does so is left undisclosed.’” Id. (citing Blackboard, Inc. v.
Desire2Learn, Inc., 574 F.3d 1371, 1383 (Fed. Cir. 2009)). The Court held
that “[t]he term ‘receiver’ (i.e., the absence of the term means)
presumptively connotes sufficiently definite structure to those of skill in the
art.” Id. (citing Personalized Media Commc’ns, LLC v. Int'l Trade Comm’n,
161 F.3d 696, 703–04 (Fed. Cir. 1998)). The Court explained that “Face has
not overcome that presumption” finding that “the record indicates that the
term ‘receiver’ conveys structure to one of skill in the art—the Board itself
made a factual finding that that the ‘skilled worker would have been familiar
with the design and principles of the types of components utilized in the
claimed invention, including . . . receivers.’” Id.
      Thus, in EnOcean, the Court addressed whether EnOcean had
successfully overcome the presumption that a claim limitation lacking the
term “means” connotes sufficiently definite structure and, accordingly,

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invokes treatment under 35 U.S.C. § 112, 6th paragraph. Here, by contrast,
the “means for detecting” limitation explicitly recites the term “means”, such
that we start with a presumption that 35 U.S.C. § 112, 6th paragraph applies.
The converse presumption addressed in EnOcean is not applicable.
Petitioner does not show, or attempt to show, that the presumption that
“means for detecting” invokes 35 U.S.C. § 112, 6th paragraph is or should be
overcome.
      In the present proceeding, Petitioner contends that “Patent Owner’s
[D]eclarant testified that a POSITA would be sufficiently familiar with the
well-known and commonly used error detection codes, such as the [cyclic
redundancy check (CRC)] check [sic] . . . .” Pet. Reply 5 (citing Ex. 1024,
106:17–107:16). Patent Owner’s Declarant also testified to a POSITA’s
familiarity with the Automatic Repeat Request (ARQ) protocol and hybrid
ARQ. Ex. 1024, 106:17–107:16. According to Petitioner, “[t]he record
therefore has sufficient evidence that a POSITA would have known from the
’561 specification how to program a processor or hardware to achieve the
claimed function of ‘detecting a need for retransmission of the received
coded data block.’” Id. at 5–6 (citing Pet. 34; Ex. 1002 ¶ 203).
      We recognize, however, “the testimony of one of ordinary skill in the
art cannot supplant the total absence of structure from the specification.”
Default Proof Credit Card Sys., Inc. v. Home Depot U.S.A., Inc., 412 F.3d
1291, 1302 (Fed. Cir. 2005); see also Biomedino, LLC v. Waters Techs.
Corp., 490 F.3d 946, 950–53 (Fed. Cir. 2007). “The prohibition against
using expert testimony in this manner is a direct consequence of the
requirement that the specification itself adequately disclose the
corresponding structure.” Noah Sys., Inc. v. Intuit Inc., 675 F.3d 1302, 1312
(Fed. Cir. 2012) (citing AllVoice Computing PLC v. Nuance Commc'ns.,

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Inc., 504 F.3d 1236, 1240 (Fed. Cir. 2007)). “[T]his court has consistently
required that the structure disclosed in the specification be more than simply
a general purpose computer or microprocessor.” Aristocrat Techs. Austl. Pty
Ltd. v. Int'l Game Tech., 521 F.3d 1328, 1333 (Fed. Cir. 2008). The
specification must “disclose an algorithm for performing the claimed
function.” Net MoneyIN, Inc. v. VeriSign, Inc., 545 F.3d 1359, 1367 (Fed.
Cir. 2008); Aristocrat, 521 F.3d at 1333. The Federal Circuit has held that
“[t]he specification can express the algorithm ‘in any understandable terms
including as a mathematical formula, in prose, or as a flow chart, or in any
other manner that provides sufficient structure.’” Noah, 675 F.3d at 1312
(citing Finisar Corp. v. DirecTV Grp., Inc., 523 F.3d 1323, 1340
(Fed.Cir.2008) (internal citation omitted)). “Simply disclosing software,
however, ‘without providing some detail about the means to accomplish the
function[,] is not enough.’” Id. (citing Finisar, 523 F.3d at 1340–41
(citation omitted)).
      In the present proceeding, even assuming, arguendo, that the record
sufficiently supports a finding that a POSITA would have known of FEC,
CRC, ARQ, and hybrid ARQ protocols, Petitioner has not shown that the
specification of the ’561 patent discloses a sufficient algorithm, whether “as
a mathematical formula, in prose, or as a flow chart, or any other manner
that provides sufficient structure” for the “means for detecting,” including an
algorithm for performing any one or more of these protocols. Noah, 675
F.3d at 1312.
      The ’561 patent discloses “means (224) for detecting a need for
retransmission of the received coded data block,” “CCU [Channel Coding
Unit] [that] is responsible for channel coding, including forward error coding
FEC” as well as detecting the “[t]he need for retransmission . . . by an error

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detection code or by the fact that an error correcting code cannot correct
errors occurring on the channel with sufficient certainty.” Ex. 1001,
code (57), 2:25, 6:64–65, 7:54–59; see id. at Fig. 5, Step 508, 10:41–44.
Petitioner has not shown that the ’561 patent presents an algorithm for how
the error detection code detects an error, nor explained the circumstances
under which the error correcting code cannot correct errors and what
constitutes “sufficient certainty.” Id. at 7:54–59. Although the ’561 patent
discloses examples of incremental redundancy protocols such as “hybrid
FEC/ARQ (Forward Error Correction/Automatic Repeat Request), which
uses error correction coding in order to decrease the number of
retransmissions,” it does not present an algorithm for implementing the
same. Id. at 2:33–37.
        For the foregoing reasons and based on the entirety of the record
developed during trial, we conclude that Petitioner fails to identify sufficient
algorithmic structure corresponding to the “means for detecting” recited in
independent claims 5 and 10.
                     D. Challenges Based on Chen Alone
        Petitioner contends that claims 1–3, 5–7, 9, and 10 are unpatentable as
anticipated under 35 U.S.C. § 102 by Chen and as obvious under
35 U.S.C. § 103 over Chen. Pet. 38–70. For the reasons that follow, we
conclude that Petitioner establishes that claims 1–3 and 9 are unpatentable as
obvious under 35 U.S.C. § 103 over Chen. As we determine that Petitioner
is successful in its obviousness challenge for these claims, we need not and
do not reach Petitioner’s anticipation challenge to claims 1–3 and 9 based on
Chen.
        We further conclude that Petitioner does not establish that any of
claims 5–7 and 10 are unpatentable as obvious or as anticipated by Chen.

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                           1. Overview of Chen
      Chen is titled “Method and Apparatus for Time Efficient
Retransmission Using Symbol Accumulation.” Ex. 1003, code (54). Chen
discloses convolutional encoder 314 that channel codes input bits using one
or more of generators g0, g1, g2, and g3. See generally id. at 13–15.
According to Chen, “convolutional encoder 314 is designed for the
necessary code rate” and produces code symbols with an exemplary code
rate of ½ by using “only two generators (e.g., g0 and g1 from summers 514a
and 514b, respectively)” and omitting remaining generators g2 and g3. Id. at
13:30–33.
      A source device sends a packet to a destination device, which
“acknowledges every received packet and sends an ACK [acknowledgment]
message back to the source device if the packet is received correctly or a
NACK [negative acknowledgment] message if the packet is received in
error.” Id. at 12:19–22. “For each transmitted packet, the source device
monitors the ACK and NACK messages and retransmits the packets
received in error.” Id. at 12:22–23. In one embodiment, a “retransmitted
packet comprises the identical code symbols which were transmitted
previously.” Id. at 13:15–16. In an alternative embodiment, Chen discloses
that if the packet from the original transmission, which includes code
symbols from generators g0 and g1, is received in error, “the retransmitted
packet can comprise the code symbols from other generators which have not
been transmitted previously (e.g., generators g2 and/or g3).” Id. at 14:4–8.
      Chen describes how different code rates can be generated by
puncturing. Id. at 14:25–26. In Chen’s example, the original transmission
includes code symbols from generators g0 and g1 for a code rate ½ and the
retransmission includes “code symbols from generators g2 and g3 which

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have been punctured to rate 3/4.” Id. at 14:30–33. In this example, “[t]he
accumulated packet from both transmissions would comprise code symbols
from generators g0, g1, g2 and g3 having a punctured rate [of] 3/10.” Id. at
14:33–35. Chen discloses that “[p]uncturing reduces the number of code
symbols to be retransmitted but also reduces the error correcting capability
of the convolutional code.” Id. at 14:35–37.
      According to Chen, “[a]t the receiver, the code symbols for the
retransmitted packets can be combined with the corresponding code symbols
from prior transmissions or can replace those prior transmitted symbols.” Id.
at 13:33–36.
                  2. Obviousness of Independent Claim 1
                     a) Petitioner’s Initial Contentions
            “A method of transmitting data in a radio system from a
      transmitter to a receiver, the method comprising”
      Petitioner contends that, “[t]o the extent the preamble is limiting,
Chen discloses it.” 6 Pet. 38. According to Petitioner, “Chen’s exemplary
communication system transmits data from a base station 4 to a remote
station 6” in which “[t]ransmitter (‘TMTR’) 126 is located at base station 4,
and receiver (‘RCVR’) 206 is located at remote station 6.” Id. (citing
Ex. 1003, 6:4–29, Fig. 1).
      Patent Owner does not specifically address the preamble of
independent claim 1. See generally PO Resp. Having reviewed the cited
evidence and Petitioner’s contentions, we are persuaded that Chen teaches
the preamble.



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 We need not determine whether the preamble is limiting because Petitioner
shows sufficiently that it is satisfied by the prior art.

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            “channel coding a data block into a coded data block by
      using a selected channel coding;
            puncturing the coded data block by using a first
      puncturing pattern;
            transmitting the coded data block punctured by the first
      puncturing pattern to the receiver;”
      According to Petitioner, “Chen teaches channel coding a data block
into a coded data block using a convolutional encoder,” which is specifically
“a 1/4 rate convolutional encoder 314 that outputs a four-symbol coded data
block (from generators g0, g1, g2, g3) for each single input symbol.” Pet. 39
(citing Ex. 1003, 5:24, 6:31–7:5, 7:16–24, 8:39–9:10, 13:19–27, 13:38–14:8,
Fig. 5; Ex. 1002 ¶¶ 347–353, 359); compare Pet. 39, with Ex. 1001, 7:28–33
(describing convolutional coding as a known method of performing channel
coding). Petitioner contends that Chen’s
      convolutional encoder 314 generates an encoded data block
      using all four generators, but only two of the four code symbols
      (those from g0 and g1) are transmitted (yielding a code rate of
      1/2). The other two code symbols (from g2 and g3) are
      punctured (removed) using a puncturing pattern of “Y Y N N”
      corresponding to the coded data block sequence of g0 g1 g2 g3.
      The puncturing pattern is applied after generation of the coded
      data block because the code symbols from g2 and g3 are
      available for later retransmission.
Pet. 40–41. Petitioner further contends that a “POSITA would have
understood that removing the symbols generated by g2 and g3 (and
transmitting only those from g0 and g1), as Chen discloses, constitutes
‘puncturing the coded data block by using a first puncturing pattern.’” Id. at
41 (citing Ex. 1002 ¶¶ 360–362). Petitioner also contends “Chen teaches
that the coded data block punctured by the first puncturing pattern is
transmitted to the radio system receiver.” Id. at 42 (citing Ex. 1003,
3:13–15, 7:6–15, 8:15–23, Fig. 2; Pet. § VIII.A.1.a; Ex. 1002 ¶¶ 363–366).


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      Chen teaches that, for “an exemplary rate ½ convolutional encoder
314, each input bit results in two output code symbols (e.g., from generators
g0 and g1).” Ex. 1003, 14:2–4. Chen explains that, “for a rate ½
convolutional encoder 314, only two generators (e.g., g0 and g1 from
summers 514a and 514b, respectively) are necessary and the remaining
generators can be omitted.” Id. at 13:30–33 (emphasis added).
      In our Institution Decision, we questioned whether “Chen’s disclosure
of omitting the remaining generators means that generators g2 and g3 do not
transmit or . . . [do not] generate any code symbols or data blocks during the
original transmission.” Inst. Dec. 13. We considered this issue to be of
consequence because the ’561 patent discloses that channel coding excludes
puncturing. See Ex. 1001, 7:30–34 (“[C]hannel coding refers to a known
method of performing channel coding, for example block coding,
convolutional coding or some coding method developed from convolutional
coding, excluding, however, puncturing from channel coding.”); Ex. 1002
¶ 348 (citing Ex. 1001, 7:28–33). If a POSITA would have understood from
Chen’s disclosure that generators g2 and g3 do not generate any code
symbols during the initial transition, then the record would not support a
finding that any of the code symbols are punctured in the initial
transmission.
      Based on the entirety of the record developed during trial, we find that
the cited portions of Chen would have taught a POSITA to choose different
puncturing patterns because Chen explicitly states that “[o]ther code rates
can also be generated by using punctured codes and are within the scope of
the present invention.” Ex. 1003, 14:25–26. This disclosure, in combination
with Chen’s disclosure that “the original transmission can comprise the code
symbols from generators g0 and g1 for rate ½,” teaches the claimed “first

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puncturing pattern.” Id. at 14:25–26, 14:30–31. Further, Chen’s disclosure
of differing code rates and punctured codes and the above-quoted disclosure
regarding the original transmission in combination with its disclosure that
“the retransmission can comprise code symbols from generators g2 and g3
which have been punctured to rate 3/4” teach the claimed “second
puncturing pattern including fewer symbols to be transmitted than the first
puncturing pattern,” as addressed in further detail below. Id. at 14:25–26,
14:30–33.
      Having reviewed the cited evidence and Petitioner’s arguments, we
are persuaded that Chen teaches the channel coding, puncturing, and first
transmitting limitations.
              “detecting a need for retransmission of the received
      coded data block;
             transmitting a retransmission request of the coded data
      block to the transmitter;
             increasing the code rate of the coded data block to be
      retransmitted by puncturing the coded data block coded by the
      channel coding of the original transmission using a second
      puncturing pattern including fewer symbols to be transmitted
      than the first puncturing pattern;”
      According to Petitioner, “Chen teaches the use of a cyclic redundancy
check (‘CRC’) polynomial to detect a need for retransmission of a received
data block.” Pet. 42 (citing Ex. 1003, 3:16–21). Petitioner contends that
Chen teaches requesting retransmission by sending a negative
acknowledgment (NACK) from a destination device to a source device. Id.
at 43 (citing Ex. 1003, 3:34–35 (“[I]f the packet was received in error, the
destination device transmits a NACK message to the source device.”),
12:19–13:11).




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      With respect to the increasing limitation, Petitioner contends that
“Chen first teaches that two of the four total symbols generated (from g2 and
g3) are removed, i.e., punctured, to generate an original transmission having
a code rate of 1/2.” Id. at 44 (citing Ex. 1003, 14:2–8; Ex. 1002 ¶¶ 386–
387). According to Petitioner, “Chen then teaches two examples that
puncture the coded data block with a second, different puncturing pattern to
increase the code rate for a retransmission.” Id. Petitioner contends that,
“[i]n each example, Chen . . . teaches that the coded data block for
retransmission should be punctured in a different pattern to transmit fewer
symbols at an increased code rate.” Id. at 45 (citing Ex. 1002 ¶ 396).
      Chen presents two embodiments––distinguished from examples––a
first, exemplary embodiment and second, alternative embodiment.
Petitioner relies on only the second, alternative embodiment. We emphasize
that the two examples presented in the following paragraphs are both from
Chen’s second, alternative embodiment and not its first, exemplary
embodiment.
      Petitioner asserts that, in Chen’s first example:
      The code symbols from g0, g1, and g3 are removed, and “[t]he
      retransmitted packet can comprise the code symbols from
      generator g2.”      The punctured coded data block for
      retransmission has 1 user data symbol to 1 code data symbol for
      an increased code rate of 1/1.
Id. at 44–45 (citing Ex. 1003, 14:16–17; Ex. 1002 ¶¶ 390–395) (brackets
added by Petitioner).
      Petitioner asserts that, in Chen’s second example:
      Three input symbols generate a 12-symbol coded data block
      (formed by 3 symbols output from each of g0, g1, g2, g3). For
      the original transmission, as described above, all of the symbols
      from g2 and g3 are punctured, yielding a code rate of 1/2. For


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        the retransmission, all of the symbols from g0 and g1 are
        punctured and any 2 of the 6 total symbols from g2 and g3 are
        punctured, yielding an increased code rate of 3/4.
Id. at 45 (citing Ex. 1003, 14:30–33, Fig. 5).
        Chen teaches the concept of puncturing and punctured codes and
different code rates obtainable therefrom. See id. at 14:25–30. In the second
example Petitioner identifies, Chen discloses that “the original transmission
can comprise the code symbols from generators g0 and g1 for rate 1/2 and
the retransmission can comprise code symbols from generators g2 and g3
which have been punctured to rate 3/4.” Id. at 14:30–33.
        Petitioner contends, and we are persuaded, that in the Institution
Decision, we misapprehended teachings of Chen, in particular, those of the
relied-upon, second, alternative embodiment. In the Institution Decision, we
found
        Petitioner’s showing appears to treat the generators
        inconsistently between the original transmission and the
        retransmission. With respect to the original transmission,
        Petitioner contends that “Chen first teaches that two of the four
        total symbols generated (from g2 and g3) are removed, i.e.,
        punctured, to generate an original transmission having a code
        rate of 1/2.” Petitioner then contends, with respect to the
        retransmission, that removing code symbols generated by g0, g1,
        and g3 and transmitting only code symbols from generator g2,
        results in a code rate of 1. As such, the omitted generators g2
        and g3 “count” towards the code rate of ½ in the original
        transmission, but omitted generators g0, g1, and g3 do not count
        towards the code rate of 1 in the retransmission. Were the
        omitted generators to be treated consistently in the
        retransmission, we would expect the code rate to drop to ¼.
Inst. Dec. 29 (citing Pet. 44 (citing Ex. 1003, 14:2–8; Ex. 1002
¶¶ 386–387)).
        Petitioner explains, and we are persuaded,


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      In that [second] example, Chen teaches transmitting only two of
      the four generated symbols from g0 and g1. This original
      transmission therefore has a code rate of 1/2, because each user
      data bit resulted in the transmission of two coded data bits. Chen
      then teaches the retransmission of only one of the four generated
      symbols from g2, which results in an increased code rate of 1/1
      or 1 because each user data bit resulted in the transmission of a
      single coded data bit. Together, both transmissions have a
      combined code rate of 1/3, because each user data bit has three
      corresponding coded data bits at the receiver.
Pet. Reply 6–7, n.3 (citing Pet. 44–45, 52; Ex. 1003, 14:2–8, 14:16–17;
Ex. 1002 ¶¶ 386–387, 390–395). In particular, we erroneously determined
the code rate considering the omitted generators instead of determining the
code rate based on the ratio of data to the code symbols that are both
generated and transmitted, as taught by Chen.
      Having reviewed the entirety of the record developed during trial,
including Petitioner’s contentions, Dr. Kakaes’s testimony, and the cited
disclosures in Chen, we are persuaded that Chen teaches different puncturing
codes that produce differing code rates––code rates that differ between an
original transmission and a retransmission––as well as a puncturing code
that removes more code symbols for a retransmission than a puncturing code
for an original transmission. Accordingly, we are persuaded that Chen
teaches the detecting, second transmitting, and increasing limitations.
             “transmitting the coded data block punctured by the
      second puncturing pattern to the receiver;
             combining the received coded data block punctured by the
      first puncturing pattern and the received coded data block
      punctured by the second puncturing pattern; and
             decoding the channel coding of the combined coded data
      block.”
      Petitioner contends that “[t]he retransmitted coded data block is sent
from transmitter 126 in base station 4 to receiver 206 in remote station 6

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through path 10.” Pet. 49 (citing Ex. 1003, 7:11–15, 8:15–17, 15:17–20,
18:23–24, Fig. 2; Ex. 1002 ¶¶ 398–401). Petitioner further contends “Chen
describes the process of accumulating the code symbols from the transmitted
and retransmitted coded data blocks as ‘interleaving,’ not the less precise
term ‘combining.’” Id. at 50 (citing Ex. 1003, 14:9–11). Petitioner also
contends “Chen teaches that the ‘accumulated’ coded data block is decoded
with a Viterbi decoder at a combined 1/3 code rate.” Id. at 52 (citing
Ex. 1003, 4:4–7, 4:30, 8:24–29, 14:11–24, Fig. 8; Ex. 1002 ¶¶ 415–420).
      Having reviewed the entirety of the record developed during trial,
including Petitioner’s contentions, Dr. Kakaes’s testimony, and the cited
disclosures in Chen, we are persuaded that Chen teaches the second
transmitting, combining, and decoding limitations.
      For the foregoing reasons, we are persuaded that Petitioner establishes
unpatentability of independent claim 1 over Chen by a preponderance of the
evidence.
                       b) Patent Owner’s Arguments
      First, Patent Owner argues that, “[c]ontrary to Petitioners’
description, Chen discusses varying the number of bits from the
convolutional encoder through discrete generators to achieve a different
code rate” and, thus, that “Petitioners’ argument fails because encoding a
data block at a particular code rate does not constitute puncturing.” PO
Resp. 11 (citing Ex. 2005 ¶ 35); see also id. at 12 (citing Pet. 44) (Patent
Owner disputing that “Chen’s disclosure of generating coded data blocks
with different code rates by selecting bits from some, but not all, of the
encoder generators is the same as ‘removing’ symbols from a coded data
block”). In the same vein, Patent Owner asserts that “Petitioners’ expert
agrees that puncturing involves removing bits from a coded data block, not

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just failing to transmit certain bits.” Id. at 12 (citing Ex. 1002 ¶ 57
(“puncturing is a technique for tailoring the code rate of a transmission by
selectively removing coded data bits (or symbols) from the coded data
block”); Ex. 2006, 67:6–10 (“What puncturing is is a technique for tailoring
the code rate of a particular transmission. In other words, tailoring which
bits are transmitted, and you do that by selectively removing coded data bits
from the set of coded data block.”)); PO Sur-Reply 8–10.
      Patent Owner argues that “Chen teaches generating coded data blocks
from coded bits coming from some or all of the convolutional encoder’s
generators” and that “contrary to Petitioners arguments, Chen does not teach
withholding generated code symbols from one or more of the generators
during an original transmission so that they may later be appended during a
retransmission; the generators are entirely omitted from the encoding
process until they are called upon to create code symbols for an encoded
data block during the retransmission.” Id. at 17 (citing Ex. 1003, 13:29–32;
Ex. 2005 ¶ 42) (emphases added). According to Patent Owner, “[t]he
symbols from the remaining generators are not what is omitted; the
generators are simply not used to create the coded data blocks.” Id. (citing
Ex. 2005 ¶¶ 43–44) (emphasis added). Patent Owner also states this same
proposition in other words: “[i]t is not that the symbols were not transmitted,
but that they were not employed in generating symbols.” Id. at 18 (citing
Ex. 2005 ¶ 44).
      In response, Petitioner disputes that Chen “teaches running a
convolutional encoder with fewer than all of its generators and then
rerunning the convolutional encoder every time a retransmission is needed,”
instead of “puncturing the original output of the encoder with two (or more)
puncturing patterns,” as Patent Owner contends. Pet. Reply 14–15 (citing

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PO Resp. 17). Petitioner contends that “[n]o POSITA at the relevant time
could have reasonably interpreted Chen’s description of convolutional
encoder 314 as ‘designed to produce code symbols at various code rates’ to
mean that Chen instructed running and re-running user data through the
convolutional encoder to achieve different code rates for retransmissions.”
Id. at 21 (citing Ex. 1023 ¶ 36) (emphasis added).
       Petitioner also contends, and we are persuaded, that “a POSITA at the
relevant priority date would have understood that Chen’s teachings to
selectively transmit only a subset of the convolutional encoder’s output is
puncturing.” Id. at 15 (emphasis added). More particularly, we are
persuaded that “Chen teaches in the ‘alternative embodiment’ that
‘convolutional encoder 314 is designed to produce code symbols at various
code rates,’ meaning that the output from convolutional encoder 314 can be
modified through puncturing (i.e., reducing redundancy) to achieve different
code rates,” as Petitioner contends. Id. (citing Ex. 1023 ¶ 31) (emphasis
added). Petitioner also persuasively argues that
      [t]he logic function of a convolutional encoder is not simply
      turned off. Every bit input into a rate 1/4 convolutional encoder
      like Chen’s convolutional encoder 314 necessarily runs through
      the logic to generate four output bits—one from each of
      generators g0, g1, g2, and g3. And a POSITA would know that
      these outputs are typically stored to at least a temporary memory
      so they are available as needed for any retransmissions. This is
      because a convolutional encoder typically encodes data streams,
      and it would be both time and resource inefficient to reseed and
      rerun the user data through the convolutional encoder every
      time a retransmission is needed.
Pet. Reply 20 (citing Ex. 1023 ¶¶ 31–34 (Dr. Kakaes testifying that a
POSITA at the relevant date would understand that the output bits from a
convolutional encoder can be stored to a memory); Ex. 1024, 114:4–8


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(Mr. Bates also testifying that a POSITA would have understood that bits
output from a convolutional encoder could be stored in memory)) (emphases
added). Dr. Kakaes persuasively explains that
      A POSITA would have further known that, even if the output bits
      from generators g2 and g3 were not selected for the original
      transmission, the entire coded data block generated by all
      generators g0-g3 would have been typically saved to at least a
      temporary memory where it would be available as needed for any
      retransmissions. This a matter of common sense as it is the most
      time and resource efficient use of the output of the convolutional
      encoder. The alternative would be to run, rerun, and rerun the
      convolutional encoder again every time a retransmission is
      requested, which would not only be inefficient but would both
      add highly undesired delays and also interfere with the
      transmitter’s ability to process the subsequent user data blocks.
      This inefficiency is compounded further by the necessary delay
      logic and seeding for each of the shift registers (i.e., each of the
      eight shift registers in Chen’s convolutional encoder 314) before
      a convolutional encoder is run.
Ex. 1023 ¶ 34. Dr. Kakaes also explains that “Chen never contemplates, and
a POSITA would have never considered, instead going back to rerun the
convolutional encoder every time a data block was received in error,
injecting undesired delay and complexity.” Id. ¶ 35. Although Patent
Owner’s Declarant, Mr. Bates, testifies to the contrary––that “Chen’s
generators do not create symbols that are subsequently withheld from the
encoded data block or transmission depending on the desired code rate,” but
instead “the generators are entirely omitted from the process of encoding the
data block”––Petitioner points out, and we are persuaded, that Mr. Bates is
addressing Chen’s exemplary embodiment “which only retransmits the
original transmission, so there is never a need to save and retransmit
different coded symbols from the originally generated coded block.” Pet.



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Reply 20, n.7 (citing Ex. 2005 ¶ 42; PO Resp. 17; Ex. 1003, 13:29–32). 7 As
noted above, however, Chen also discloses a second, alternative embodiment
upon which Petitioner solely relies.
      Petitioner takes the position that “the output can be punctured to
transmit coded symbols generated by particular generators” and “[o]r,
alternatively, a different pattern can be punctured from the output of all four
generators or a subset of generators that were already punctured.” Id. (citing
Ex. 1023 ¶¶ 37–38). Petitioner more particularly explains that
      Chen specifically teaches puncturing the code symbols from
      generators g2 and g3 so that only the symbols from generators
      g0 and g1 are transmitted. This is a “YYNN” or “1100”
      puncturing pattern. The code rate for this original transmission
      is the ratio of one user data bit to two coded data bits or 1/2.
      Chen then teaches sending new code symbols in the
      retransmitted packet, specifically, in one example, the punctured
      code symbols from only generator g2 with an increased code rate
      of 1/1 because the ratio for the retransmission is one user data bit
      to one coded data bit. The receiver, accumulating the 1/2 code
      rate original transmission from g0 and g1 with the 1/1 code rate
      retransmission from g2, now has a coded data block with a code
      rate ratio of one user data bit to three coded data bits or 1/3.
      Chen then uses a 1/3 code rate Viterbi decoder to decode the
      combined 1/3 code rate coded data block.
Id. (citing Ex. 1003, 14:4–8, 14:13–18; Ex. 1002 ¶¶ 54–55, 238; Ex. 1023
¶ 35; Ex. 1002 ¶ 278).
      Dr. Kakaes explains, and we agree, that “Chen’s selective
transmission (i.e., puncturing) of the output from only certain generators is
also consistent with the only embodiment from the ’561 patent, which relies
on this same type of puncturing pattern.” Ex. 1023 ¶ 39. Dr. Kakaes further


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  Mr. Bates cites column 30, lines 30–32 of Chen in support of his
testimony. We presume this citation to be a typographical error.

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explains the chart, reproduced below, comparing Chen’s second, alternative
embodiment with the embodiment shown in Figure 4 of the ’561 patent in
support of Petitioner’s contentions.




       Chart comparing Chen’s second, alternative embodiment with
               the Figure 4 embodiment of the ’561 patent.
                      Ex. 1023 ¶ 40; Pet. Reply 22.
According to Dr. Kakaes, “the only difference between Chen’s disclosures
and the ’561 patent’s Figure 4 embodiment is that Chen starts from a 1/4
convolutional encoder, whereas the ’561 patent starts from a 1/3
convolutional encoder.” Ex. 1023 ¶ 40. Dr. Kakaes points out, however,
that “the claims of the ’561 patent are not limited to a 1/3 convolutional
encoder, or any encoder for that matter, because they only broadly claim
‘channel coding a data block into a coded data block by using a first
puncturing pattern.’” Id. ¶ 41 (citing Ex. 1001, claim 1).
      Petitioner contends, and we agree, that
      [t]he lone ’561 embodiment in Figure 4 relies on the output from
      a 1/3 code rate convolutional encoder. The ’561 patent describes
      a first puncturing pattern in which “the first symbol and every
      third symbol thereafter” are removed, which it described as a
      “011011011” puncturing pattern. The output of a 1/3 code rate

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      convolutional encoder can be organized by its three generators,
      g0, g1, and g2. Described from the perspective of the generators,
      the ’561 patent’s “first puncturing pattern” simply consists of the
      output from generators g1 and g2, which have a code rate of 1/2,
      and omits the output from generator g0.
Pet. Reply 21–22 (citing Ex. 1023 ¶ 39; Ex. 1001, 7:21–25, 7:34–44, Fig. 4).
      Second, Patent Owner contends that Petitioner refers to an “excerpt of
Chen that purportedly discusses puncturing, but even [this excerpt of] Chen
does not disclose the invention recited in the claims of the ’561 patent” and
instead, “Chen discusses only a single instance of data puncturing in [the
cited] section.” PO Resp. 13 (citing Ex. 2005 ¶ 36; Ex. 1003, 14:30–37;
Pet. 45). According to Patent Owner, it is notable that Chen presents the
corresponding disclosure from
      th[e] section immediately following the section Petitioners assert
      discloses puncturing. Chen says, “[o]ther code rates can also be
      generated by using punctured codes and are within the scope of
      the present invention.” In other words, Chen distinguishes
      between the previous section that Petitioners claim discloses
      puncturing and this section where, for the first time, Chen
      introduces the idea that puncturing can also be used to control
      code rates.
Id. (citing Ex. 1003, 14:25–26). Patent Owner also contends that “the
wholesale abandonment of Chen’s exemplary embodiment directly
undermines Petitioners own invalidity analysis, as it relies on multiple
embodiments to demonstrate invalidity.” PO Sur-Reply 6 (citing Pet. 43,
56, 60); see id. at 3–6.
      In response, Petitioner takes the position that Patent Owner’s
arguments confuse two embodiments in Chen––the first, exemplary
embodiment and the second, alternative embodiment discussed above––and
that Petitioner only relies on the second, alternative embodiment. Pet. Reply


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7–8. Petitioner clarifies that the second, alternative embodiment on which
Petitioner relies “does not use ‘identical code symbols’” but “instead applies
a second puncturing pattern to transmit a different set of symbols.” Pet.
Reply 11, n.5 (citing Ex. 1023 ¶¶ 12–16) (emphasis added). Petitioner also
relies on two different examples in Chen’s second, alternative embodiment,
as set forth above in the analysis of Petitioner’s element-by-element
showing. Patent Owner’s argument is unavailing––we can consider and rely
on separate disclosures in Chen to support a finding as to the above-quoted
claim limitations, in particular because the disclosures in Chen cited by
Petitioner are with respect to the same, second, alternative embodiment upon
which Petitioner solely relies. We do not determine that the sections of
Chen pointed to by Patent Owner are incompatible, or mutually exclusive,
nor do we determine that Petitioner improperly relies on multiple
embodiments without adequate rationale for combining the embodiments.
We also note that Patent Owner apparently concurs with Petitioner’s
position in its statement that “Chen describes encoding the data block a
second time at the same code rate as the original transmission, but then
puncturing the newly generated coded data block to achieve a different code
rate prior to retransmission.” PO Resp. 13 (citing Ex. 1003, 14:25–33; Ex.
2005 ¶ 36) (emphasis added)).
      Third, Patent Owner argues that “Chen’s disclosure of encoding data
blocks at different rates does not disclose or render obvious the ’561 patent”
and instead, “teaches away from using multiple puncturing schemes.” Id. at
17. As set forth above, Patent Owner argues that “Chen does not teach
withholding generated code symbols from one or more of the generators
during an original transmission” and instead, “the generators are entirely
omitted from the encoding process until they are called upon to create code

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symbols for an encoded data block during the retransmission.” Id. (Ex.
1003, 13:29–32; Ex. 2005 ¶ 42). Patent Owner further argues that “Chen
discusses this in detail when describing how a “convolutional encoder 314 is
designed for the necessary code rate.” Id. (citing Ex. 1003, 13:29–30).
      A reference teaches away “when a person of ordinary skill, upon
reading the reference, would be discouraged from following the path set out
in the reference, or would be led in a direction divergent from the path that
was taken” in the claim. Galderma Labs., L.P. v. Tolmar, Inc., 737 F.3d
731, 738 (Fed. Cir. 2013). A reference that “merely expresses a general
preference for an alternative invention but does not criticize, discredit, or
otherwise discourage investigation into” the claimed invention does not
teach away. Id.
      In the present proceeding, we determine that neither the cited portions
of Chen set forth above, nor any other portion of Chen, discourages,
criticizes, or discredits multiple puncturing schemes. Even assuming,
arguendo, Patent Owner’s contention that Chen does not teach “withholding
generated code symbols from one or more of the generators” and instead
teaches “entirely omit[ing] those generators from the encoding process until
. . . called upon,” we find Patent Owner’s contention unavailing for the same
reason. We determine that Chen’s disclosure that “[p]uncturing reduces the
number of code symbols to be retransmitted but also reduces the error
correcting capability of the convolutional code” is a tradeoff that a POSITA
would consider, not a disparagement. Ex. 1003, 14:35–37. In fact, Chen
expressly discloses that different “code rates can also be generated by using
punctured codes and are within the scope of the present invention.” Id. at
14:25–26.



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      Fourth, Patent Owner argues that “Chen’s clear direction that packets
are ‘not combined’ shows that Chen prohibits combining the two coded data
blocks, and instead embraces the separate concept of interleaving” and
further, that “Petitioners’ expert ignored Chen’s distinction between
combining and interleaving during his deposition and simply repeated what
Chen had already rejected, that ‘interleaving is one way of performing
combining.” PO Resp. 14 (citing Ex. 2006, 83:4–9, 85:13–16); PO Sur-
Reply 6–7.
      In his Declaration, Mr. Bates testifies that “Chen draws a clear
distinction between interleaving and combining where he states that
‘retransmitted packets are interleaved (not combined)’” and that “Chen does
not combine the originally transmitted data block and its retransmitted
counterpart, but merely interleaves them.” Ex. 2005 ¶ 38 (citing Ex. 1003,
14:9–10). Mr. Bates also “note[s] that Dr. Kakaes claims that interleaving is
a subset of combining” and testifies that “such an understanding is belied by
Chen’s rejecting combining—Chen does not explicitly reject combining to
then recommend a form of combining.” Id. (citing Ex. 1002 ¶ 413). During
his deposition, Mr. Bates testifies as follows:
      Q. What would a person of ordinary skill in the art have
      understood the term “interleaving” to mean at the relevant
      priority date of September 1999?
      A. And you said the term “incrementing?”
      Q. Yes. Interleaving.
      A. Oh, Interleaving. I’m sorry. Combining says I’m putting two
      pieces back together. Interleaving is a different process. When
      I’m going to interleave, I’ll read my data in in a serial data
      stream, and I’ll read it into a buffer or a memory, and I’ll
      interleave it in in rows. When I’m then going to send it out, I will
      read it out in columns. So let’s say I had a four-by-four square

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      here or four little squares. So the four-by-four, I would read the
      data in horizontally, and I would transmit it out vertically. By
      doing interleaving, what I’m doing is I’m spreading the data
      across a bigger spectrum, if you will. If I start to have errors,
      normally have bursts of errors. So by having a burst of errors I
      could have four bits in a row being errored, corrupted. But
      because we interleave, what happens is the interleave, because
      I’ve read them in horizontally, out vertically, and then when I
      bring them back in, I read them in horizontally, what it does is it
      spreads out the errors so there’s an easier fix or its easier to detect
      the errors. And if we’re looking at just single bit errors instead of
      bursts of errors now, I can usually do some form of error
      correction. They’re two different processes.
Ex. 2008 at 48:1–49:7. 8
      Petitioner responds that Chen discloses “a second ‘alternative
embodiment’ in which different code symbols are received and accumulated
together through a process Chen calls ‘interleaving’ to achieve a combined
‘lower code rate’ (i.e., adding together the additional redundancy from the
two transmissions).” Pet. Reply 12 (citing Ex. 1003, 13:38–14:24).
Petitioner contends that “Patent Owner asks the Board to myopically focus
on the fact that Chen calls this process of accumulating different code
symbols ‘interleaving,’ instead of ‘combining,’ which is the word used in the
’561 patent for this concept.” Id. (citing PO Resp. 14–15). Petitioner further
contends, and we agree, that “‘combining’ in the ’561 patent and
‘interleaving’ in the second embodiment of Chen are the exact same thing”
because “[b]oth involve the same concept: collecting together different
coded symbols from the transmission and retransmission to be decoded

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  Patent Owner only files “excerpts” of Mr. Bates’s testimony. See
Ex. 2008. As such, the identity of the person deposing Mr. Bates is
unknown. For this reason, in this excerpt of testimony, we do not attribute
the questions to anyone but attribute the answers to Mr. Bates.

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together at a lower code rate.” Id. (citing Ex. 1001, 8:21–32; Ex. 1002
¶¶ 269–271, 402–414).
      In our Institution Decision, we found persuasive Dr. Kakaes’s
testimony that “Chen’s ‘interleaving’ of the original transmission and the re-
transmission is precisely the same type of ‘combining’ described in the ’561
patent” and that “a POSITA would understand that ‘interleaving’ is a more
specific description of the method the ’561 patent described in Figure 4,”
which the ’561 patent refers to as combining. Inst. Dec. 31–32 (citing
Ex. 1002 ¶ 413; Ex. 1001, 8:26–32). In the Institution Decision, we found
that the cited portion of the ’561 patent supports Dr. Kakaes’s testimony
because we determined that the cited portion discloses interleaving:
      In the example of FIG. 4, the second, third, fifth, sixth, eighth
      and ninth symbol of a combined coded data block 412 are
      obtained from the coded data block 408 punctured by the first
      puncturing pattern 404, and the first, fourth and seventh symbol
      are obtained from the coded data block 410 punctured by the
      Second puncturing pattern 406.
Id. at 32 (citing Ex. 1001, 8:26–32).
      Even having considered Patent Owner’s arguments in its Response
and Sur-Reply and having considered Mr. Bates’s Declaration and
deposition testimony and the entire record developed during trial, we find
Patent Owner’s arguments unavailing. Instead, having considered the
entirety of the record, we are persuaded, as we initially set forth in our
Institution Decision, that the
      record does not support the finding that “combining” as recited
      in claim 1 excludes interleaving as taught by Chen. Further,
      although Chen distinguishes interleaving from combining in one
      instance, it also discloses accumulating packets and combining
      packets. For example, Chen discloses that a “destination device
      receives the retransmitted packet, accumulates energy of the


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         retransmitted packet with the energy already accumulated for the
         packet received in error, and decodes the accumulated packet”
         and that the “[t]he accumulation can be accomplished with an
         arithmetic logic unit (ALU).”
Inst. Dec. 32 (citing Ex. 1003, 13:33–36, 14:9–13, 14:17–24, 14:33–35,
18:24–27, 18:36–37).
                   3. Obviousness Dependent Claims 2 and 3
         Patent Owner does not separately argue the dependent claims, in
particular, claims 2 and 3. See e.g., PO Resp. 9–18.
         Claim 2 recites “wherein the symbols to be transmitted of the first
puncturing pattern and the second puncturing pattern together comprising as
many of the symbols of the coded data block as possible.”
         Petitioner contends that “Chen teaches the use of puncturing patterns
that are ‘completely separate’ with no overlap of symbols in the transmitted
coded data.” Pet. 67 (citing Pet. § VIII.A.1.g). Petitioner presents a
diagram, reproduced below, which Petitioner asserts corresponds to Chen’s
embodiment disclosed in column 13, line 38 through column 14, line 18. Id.
at 68.




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       Petitioner’s diagram illustrating the method of Chen’s second,
      alternative embodiment. Pet. 68 (citing Ex. 1003, 13:38–14:18).
According to Petitioner, “[t]he coded symbols transmitted after the first
puncturing pattern (i.e., the symbols generated by g0 and g1) are
‘completely separate’ from the coded symbols retransmitted after the second
puncturing pattern (i.e., the symbols generated by g2)” and as such, “there is
no overlap in the transmitted and retransmitted symbols,” and accordingly,
“the transmissions ‘compris[e] as many of the symbols of the coded data
block as possible.’” Id. Petitioner compares Chen’s disclosure to that of the
’561 patent:



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      The ’561 patent specification states it is “preferable” in the
      Figure 4 example “that the symbols to be transmitted of the first
      puncturing pattern 404 and the second puncturing pattern 406
      together comprise as many of the symbols of the coded data
      block 402 as possible,” which can be accomplished through
      puncturing patterns for the transmission and retransmission that
      are “completely separate,” i.e., with no overlap in the coded data
      blocks.
Id. at 67 (citing Ex. 1001, 8:32–41).
      Petitioner contends that to the extent claim 2 “require[s] that all coded
bits in the coded data block are sent in the two transmissions, it would have
been obvious to a POSITA to use Chen’s teachings to do so.” Id. at 68
(citing Ex. 1002 ¶¶ 556–562). More particularly, Petitioner contends that
      To maximize the error-correction capability of the convolutional
      coder, especially after a need for retransmission is detected and
      if channel conditions are unfavorable, a POSITA would
      appreciate the advantages of sending the maximum number of
      code symbols in the transmission and retransmission, including
      all symbols, and would be motivated to use the teachings of Chen
      to transmit as many symbols as possible between the two
      transmissions. This is reinforced by Chen’s second example in
      which coded symbols from g0, g1, g2, and g3 are sent in the
      transmission and retransmission, and Chen’s teaching that
      “[o]ther code rates can also be generated.”
Id. at 69 (citing Ex. 1002 ¶¶ 556–562, 625–626; Ex. 1003, 14:25–37); see id.
(citing Ex. 1002 ¶ 83; Ex. 1001, 7:36–39, Ex. 1003, 14:33–37).
      We are persuaded that the cited portions of Chen and Dr. Kakaes’s
testimony support Petitioner’s contentions. Accordingly, Petitioner
establishes unpatentability of claim 2 by a preponderance of the evidence.
      Claim 3 recites “wherein the code rate of the punctured coded data
block does not exceed 1.” Petitioner contends that “Chen only teaches the
transmission (and retransmission, for that matter) of coded data blocks at a


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code rate of 1 or less.” Id. at 70 (citing Ex. 1003, 13:28–14:37 (code rates of
1/2, 3/4, and 1); 14:17–18 (combined code rates of 1/3, 1/4, and 3/10);
Ex. 1002 ¶¶ 503–505). We are persuaded that the cited portions of Chen and
Dr. Kakaes’s testimony support Petitioner’s contentions. Accordingly,
Petitioner establishes unpatentability of claim 3 by a preponderance of the
evidence
                  4. Obviousness of Independent Claim 9
      Petitioner’s element by element analysis for independent claim 9
relies on portions of Chen substantially overlapping with those portions cited
with respect to independent claim 1. See Pet. 59–62. We have reviewed
Petitioner’s contentions, Dr. Kakaes’s testimony, the cited evidence, and in
particular, the portions of Chen cited to teach the function and corresponding
structure of the alleged means-plus-function terms in these claims, for which
we determined sufficient structure had been identified in the Petition. Id.
(citing Ex. 1003, 3:33–35, 6:4–7:15, 9:11–25, 10:9–21, 12:19–13:11, Fig. 2;
Ex. 1002 ¶¶ 462–472; Pet. §§ VIII.A.1, VIIII.A.2).
       We are satisfied that Petitioner sufficiently identifies, in the prior art,
the limitations recited in independent claim 9, and in particular, elements in
Chen encompassed by the means-plus-function constructions set forth in
Section III.C. Accordingly, we are persuaded that Petitioner establishes
obviousness of claim 9 over Chen by a preponderance of the evidence for
reasons substantially similar to those set forth above with respect to claim 1.
   5. Anticipation and Obviousness of Independent Claims 5 and 10 and
                         Dependent Claims 6 and 7
      As discussed above, we determine that the “means for detecting”
limitation recited in independent claims 5 and 10 lacks identified structure
corresponding to the “detecting” function. Supra § III.C. As we are unable


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to conclude what structure is encompassed by the “means for detecting,” we
cannot reach a conclusion as to whether Chen teaches or suggests the subject
matter of claims 5 or 10. More particularly, we cannot conclude whether
Chen teaches or suggests the “means for detecting” recited in claims 5 and
10 because the record does not show that corresponding structure has been
identified and/or exists in Chen. Having considered the entirety of the
record developed during trial, and for the reasons discussed in above in
Section III.C, we determine that Petitioner does not establish independent
claims 5 and 10 are unpatentable, either as anticipated by or obvious over
Chen, by a preponderance of the evidence.
      As claims 6 and 7 depend from independent claim 5, we further
determine, based on the entire record developed during trial, that Petitioner
does not establish that these claims are unpatentable, either as anticipated by
or obvious over Chen, by a preponderance of the evidence.
        E. Challenges Based on Chen and Eriksson and Chen and
                               GSM 03.64
      Petitioner contends that claims 1–10 are unpatentable under 35 U.S.C.
§ 103 as obvious over Chen and Eriksson and as obvious over Chen and
GSM 03.64. Pet. 70–90. For the reasons that follow, we determine that
Petitioner does not establish unpatentability of claims 1–10 over Chen and
Eriksson by a preponderance of the evidence. We further determine that
Petitioner does not establish unpatentability of claims 1–10 over Chen and
GSM 03.64 by a preponderance evidence. As Petitioner argues these
challenges together, we also address Petitioner’s third and fourth challenges
together.




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                          1. Overview of Eriksson
      Eriksson is titled “Comparison of Link Quality Control Strategies for
Packet Data Services in EDGE” and evaluates link adaptation and
incremental redundancy, which are link quality control methods. Ex. 1004,
1. 9, 10 Eriksson also proposes its own link quality control method, “two burst
based link quality control (2BB LQC),” which is described in the following
paragraphs. Id. at 2. Eriksson describes modulation and coding schemes
(MCSs) in EGPRS, in which “MCS changes are enabled on retransmission
by partitioning the MCSs into families (cf. Table 1).” Id. at 3. 11 Table 1,
reproduced below, includes family designations and code rates for MCSs.




       Table 1 of Eriksson indicates code rates, subblock(s) per radio
       block, and family designations for various MCSs. Ex. 1004, 2.


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  Eriksson has two sets of page numbers. This Decision references the page
numbers added by Petitioner.
10
   The acronym “EDGE” is not defined in Eriksson. We understand EDGE
to refer to Enhanced Data rates for GSM, consistent with Dr. Kakaes’s
identification of acronyms in his First Declaration. See Ex. 1002, iiii.
11
   The acronym EGPRS is not defined in Eriksson. We understand EGPRS
to refer to Enhanced General Packet Radio Service, consistent with Dr.
Kakaes’s identification of acronyms in his Declaration. Ex. 1002, iii.

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      Eriksson discloses that “data block sizes for one family are multiples
of each other.” Id. at 3. Eriksson discloses family A as including MCS-3,
MCS-6, and MCS-8 in which MCS-8 and MCS-6 have the same block size.
Id. “In MCS-8, two subblocks, each obtained by encoding and puncturing a
data block to rate one fit into one radio block.” Id. In MCS-6, “only one
subblock, obtained by encoding and puncturing the same data block to rate
0.49, fits.” Id. Eriksson also discloses that “it is possible to increase the
code rate granularity by decreasing the subblock size of retransmissions,” for
example, by “making the retransmitted subblocks half as large as the first,”
which results in “code rates R1, 2R1/3, 2R1/4, 2R1/5 etc.” Id. In the case
where the third member of family A, MCS-3, is used to retransmit “a data
block initially sent with MCS-6 or MCS-8, the data block is resegmented
into two.” Id. Eriksson further discloses that “[e]ncoding and puncturing
each part to rate 0.85 give[s] two subblocks fitting the MCS-3 subblock
size.” Id.
      According to Eriksson, “[t]he ability to change [MCSs] on
retransmission is most important if IR [incremental redundancy] is not
used.” Id.
                         2. Overview of GSM 03.64
      GSM is a standard for cellular telecommunications radio systems.
This particular version of GSM, GSM 03.64, discloses the structure of radio
blocks to be transmitted, modulation and channel-coding schemes including
convolutional coding, and puncturing to modify code rates. Ex. 1005,
20–30. In particular, GSM 03.64 specifies coding parameters for
modulation and coding schemes MCS-1 through MCS-9. Id. at 30 (Table 4).
GSM 03.64 also depicts encoding and puncturing for each MCS. Id. at 25–
29 (Figures 10–18). Reproduced below, Figure 10 of GSM 03.64 depicts

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channel-coding user data with rate 1/3 convolutional encoding and
puncturing for MCS-9.




          Figure 10 of GSM 03.64 depicts convolutional coding and
                          puncturing for MCS-9.
Id. at 25. GSM 03.64 also discloses that “[t]he P i for each MCS
correspond[s] to different puncturing schemes achieving the same coding
rate.” Id. at 30.
   3. Claims 1–10 and Petitioner’s Rationale for Combining Chen with
                   Eriksson and Chen with GSM 03.64
                      a) Petitioner’s Initial Contentions
      With respect to its third and fourth challenges, Petitioner contends that
“[t]o the extent Chen is found to lack any limitation, it can be combined with
either Eriksson or GSM 03.64, which could supply all limitations except for
potentially some of the means-plus-function elements, to invalidate the ’561
claims.” Pet. 71. Petitioner addresses the “Chen/Eriksson and Chen/GSM

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03.64 grounds . . . together.” Id. In the Institution Decision, we determined
Petitioner’s rationale for combining Eriksson and Chen as well as
Petitioner’s rationale for combining Eriksson and GSM 03.64 were
insufficient. Inst. Dec. 41–44.
      Petitioner presents the following reasons to combine Chen with
Eriksson and GSM 03.64.
      First, Chen, Eriksson, and GSM 03.64 are all in the same art,
      which is the transmission and retransmission of data in cellular
      radio systems.
      Second, Chen, Eriksson, and GSM 03.64 all teach the same
      aspect of data retransmission—incremental redundancy
      techniques.
      Third, Chen, Eriksson, and GSM 03.64 all addressed the same
      problems. Chen was directed to maintaining throughput,
      maximizing capacity, and improving decoding performance.
      Eriksson was similarly focused on optimizing performance and
      throughput while reducing delay. The GSM standard is similarly
      directed to protocols for an efficient and interoperable system
      with optimized throughput, capacity, and performance.
      Fourth, GSM was the predominant cellular standard by the
      alleged date of invention. It served more than 65 million
      customers in 100 countries at the time. GSM did not just suggest
      EGPRS protocols, moreover, it mandated MCS functionality and
      incremental redundancy for EGPRS-compliant mobile stations.
      A POSITA would have had knowledge of the relevant industry
      requirements and looked to implement useful teachings under
      this prevailing standard. Chen’s disclosure of methods for
      improving the efficiency of incremental redundancy techniques
      to improve throughput rate would have appealed to a POSITA
      who would understand the relevance of Chen’s teachings to
      incremental redundancy in the newly-added EGPRS schemes.
      Fifth, reinforcing the fourth point above, Chen cross-references
      a 2G standard known as “IS-95A.” In other words, Chen
      illustrates that it was common to look to standards as part of any
      discussion about cellular systems.

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      Sixth, Chen, Chen’s employer (Qualcomm), Eriksson, and
      Eriksson’s employer (Ericsson), were active in the field of
      telecommunications, worked in cellular radio system design for
      decades, held dozens of patents in this space, and participated in
      standard-setting organizations. These sources would have been
      natural for a POSITA to combine.
      Applying Eriksson and GSM 03.64’s teachings to Chen would
      have been applying known techniques to improve the similar
      incremental redundancy techniques already taught by Chen in the
      same manner.
Pet. 71–73 (citing Ex. 1002 ¶¶ 333–340; Ex. 1003, 1:31–35, 2:43–46,
4:12–5:8, 15:55–64; Ex. 1004, 2; Ex. 1005, 1, 21) (emphases and formatting
added).
      Seventh, Petitioner contends that “[a] POSITA would be motivated to
increase the code rate in view of Eriksson’s teachings about the benefits of
increased code rate granularity and adaptation to channel conditions.” Id. at
79 (citing Ex. 1004, 1–2, 5).
      Eighth, Petitioner argues that:
             A POSITA, applying Eriksson or GSM 03.64 to Chen,
      would have understood the benefits of selecting a second MCS
      with increased puncturing for an increased code rate for the
      retransmission (i.e., any of the last three options), if needed,
      particularly when channel conditions are favorable and few
      additional coded bits are likely needed to correct errors. An
      increased code rate would also increase the granularity of the
      decreased combined code rate.
Id. at 80–81 (citing Ex. 1002 ¶¶ 535–538, 613; Ex. 1004, 3).
      Ninth, Petitioner contends that it would have been obvious “to a
POSITA to use a second, different puncturing pattern for the retransmitted
coded data block based on Chen and Eriksson’s disclosures for
retransmitting the coded data block at a higher code rate and a POSITA’s



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knowledge of incremental redundancy (including type-II HARQ) and link
adaption in the prior art.” Id. at 81 (citing Ex. 1002 ¶¶ 531–540, 606–614).
      Petitioner cites the Petition at pages 87–88 and 89–90 as the basis for
its tenth reason for combining Chen with Eriksson and GSM 03.64. We note
that Petitioner’s tenth reason is presented only with respect to its challenge
to dependent claims 4 and 8. Pet. 85. Claim 4 recites
            wherein a combination of modulation and coding schemes
      used in an EGPRS in an original transmission and in a
      retransmission being one of the following:
      modulation and coding scheme six and modulation and
            coding scheme nine,
      modulation and coding scheme five and modulation and
            coding scheme seven, and
      modulation and coding scheme six using padding
            bits and modulation and coding scheme
            eight.
Claim 8 recites substantially similar features. Petitioner argued reasons 4
and 10 together, presumably with respect to independent claim 1, during oral
argument and asserted that the reasons “should be considered as a whole and
not . . . in isolation.” Tr. 28:1–4. We address Petitioner’s tenth reason along
with reasons 1 through 9 in the context of our analysis of the independent
claims, particularly because it is not clear that Petitioner’s Reply arguments
addressing the applicability of Chen to GSM are limited to dependent
claims 4 and 8 only. We note, however, that our conclusions with respect to
the entirety of Petitioner’s third and fourth challenges would be the same
regardless of how we consider Petitioner’s tenth reason.
      As context for Petitioner’s tenth reason, we note that Petitioner asserts
that “Eriksson teaches the use of a modified type-II HARQ for link
adaptation and incremental redundancy” through “MCS families punctured
to different, compatible code rates.” Pet. 78–79 (citing Ex. 1004, 1–3,

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Table 1, Fig. 1). According to Petitioner, “[t]he MCSs in each ‘family’ have
different code rates (in column R1), so switching between MCSs for a
retransmission necessarily changes the code rate” which “will necessarily
either be higher or lower than the original transmission.” Id. at 79
(Ex. 1004, 2; Ex. 1002 ¶¶ 532–540). Petitioner makes similar assertions
with respect to GSM 03.64 and asserts that,
      [u]nder the teachings of GSM 03.64, if a transmission was sent
      with an “A” family MCS, the retransmission may use another
      MCS from the “A” family, which punctures the coded data block
      to a different code rate. If, for example, a “family A” MCS-6
      transmission is sent at a 0.49 code rate, the retransmission—
      which must be chosen from one of the family A schemes—can
      be any of MCS-6 (same code rate), MCS-8 (increased 0.92 code
      rate), MCS-9 (increased 1.0 code rate), or MCS-3 (increased 0.80
      code rate).
Id. at 80 (citing Ex. 1005, 43; 1002 ¶¶ 611–613). With that context, we
set forth Petitioner’s tenth contention in the following paragraph.
      Tenth, Petitioner contends that
      Eriksson teaches two of the three claimed MCS combinations in
      claims 4 and 8 of the ’561 patent, which are the only available
      8PSK family combinations in Eriksson. Again, these MCS
      combinations were selected from a finite number of identified,
      predictable combinations taught by Eriksson and with a
      reasonable expectation of success . . . .
Id. at 89–90 (citing Ex. 1002 ¶¶ 571–574); see id. at 87–88 (citing Ex. 1002
¶¶ 632–640).
                       b) Patent Owner’s Arguments
      Patent Owner does not present any particular arguments in its
Response, but represents that it “stands by the arguments contained in Patent
Owner’s Preliminary Response pertaining to the combinations of references
as not rendering any claim of the ’561 patent obvious.” PO Resp. 19. Patent


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Owner improperly attempts to incorporate by reference the arguments from
its Preliminary Response. See Paper 12, 8 (“[A]ny arguments not raised in
the response may be deemed waived.”). Nonetheless, we determine that
Petitioner’s motivation for combining Chen with either Eriksson or GSM
03.64 is not supported by sufficient rational underpinning, for the reasons
discussed below.
                        c) Petitioner’s Reply Arguments
      In its Reply, Petitioner contends that “Chen expressly describes the
benefits of his teachings for a retransmitted data packet that ‘comprises new
code symbols which may not have been transmitted previously’” and
reproduces Chen’s disclosure describing its benefits––“provid[ing] enhanced
error correcting capabilities,” “saving . . . code symbols [that] can then be
used for the retransmitted packet,” and possibly “operat[ing] symbol
repetition in the nominal matter.” Pet. Reply 23 (citing Ex. 1003,
13:38–14:2, 14:23–24, 14:38–15:3, 15:9–22) (emphasis omitted). Petitioner
further contends that
      [a] POSITA would have reviewed Chen and been motivated to
      use Chen’s “alternative embodiment” to improve the efficiency
      of a radio system. That POSITA would have recognized that
      Chen’s teachings to send retransmissions at a higher code rate
      achieved through a second puncturing pattern different from the
      original transmission would allow a radio system to better adapt
      to the channel conditions and reduce the necessary redundancy
      for retransmissions. That POSITA would have been motivated in
      particular to apply Chen’s teachings to the incremental
      redundancy scheme recently specified in the then prevalent [sic]
      and growing-in-popularity GSM standard by the relevant
      priority date.
Id. at 24 (citing Ex. 1002 ¶¶ 46–47) (emphasis added).




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      Petitioner focuses its Reply arguments on the fact that “GSM had
more than 100 million global subscribers by 1999 and was in a period of
transition, with new technical standards for GPRS and EGPRS adding new
Gaussian Minimum-Shift Keying (GMSK) and 8PSK modulation and
channel-coding schemes.” Id. at 24 (citing Ex. 1001, 1:31; Ex. 1002
¶¶ 21–22, 35–37, 43–44, 46). Petitioner contends that a “POSITA wanting
to recognize the efficiencies of Chen’s adaptable data retransmission scheme
would appreciate that Chen’s teachings for a rate 1/4 convolutional encoder
like 314 could be easily implemented in radio systems compliant with
GSM’s GPRS and EGPRS specifications.” Id. at 24–25 (citing Ex. 1023
¶ 48). According to Petitioner, Chen expressly disclosed the relevance of its
teachings not just to code division multiple access (CDMA) modulation
techniques, but also to “[o]ther multiple access communication system
techniques,” like GSM’s TDMA. Id. at 25 (citing Ex. 1003, 1:15–20;
Ex. 1002 ¶ 237). Petitioner also contends that “[a] POSITA would have
further recognized that GSM’s new spread spectrum MCSs were a uniquely
good fit for Chen’s teachings in view of Chen’s support for CDMA’s spread
spectrum modulation techniques.” Id. (citing Ex. 1003, 1:20–22; Ex. 1023
¶ 47). According to Petitioner, “[a] POSITA wanting to apply Chen’s
teachings to current standards would have further looked to GSM 03.64 as
the most up-to-date set of proposed specifications necessary to apply Chen’s
teachings to the then-prevailing GSM standard, including the newly-defined
MCS-6 and MCS-9 schemes.” Id. at 26 (citing Ex. 1023 ¶ 50).
      Petitioner also disputes Patent Owner’s argument that Eriksson fails to
disclose a second puncturing pattern and further disputes that Eriksson
“‘disparages the use of a second puncturing scheme’” based on its disclosure
“that a second puncturing scheme ‘complicates or inhibits’ the process of

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combining ‘and should thus only be done when absolutely necessary’”
because Petitioner contends that “Patent Owner erroneously relies on a
discussion about resegmentation of a data block, rather than puncturing . . .
.” Id. at 27–28 (citing Ex. 1004, 940 (“[I]n fact, in IR operation,
resegmentation of a datablock complicates or inhibits the IR combining and
should thus only be done when absolutely necessary.”); Prelim. Resp.
19–20).
      Finally, Petitioner disputes that Patent Owner identifies any
shortcoming in GSM 03.64 because Petitioner contends that GSM 03.64
does, in fact, address combining blocks in an IR scheme, contrary to Patent
Owner’s assertions. Id. at 28–29 (citing Prelim. Resp. 22–23; Ex. 1023 ¶ 46;
Ex. 1002 ¶¶ 69–83; Ex. 1005, 39; Ex. 1024, 94:22–95:5 (Mr. Bates
testifying that GSM 03.64 “discloses the use of an incremental redundancy
scheme” and that GSM 03.64 “does say it combines them with the
retransmitted RLC data blocks”).
            d) Analysis of Petitioner’s Rationale for Combining
      Petitioner’s first, second, and third reasons essentially constitute an
argument that Chen, Eriksson, and GSM 03.64 are capable of being
combined because they are directed to analogous art, are in the same field of
endeavor, and address the same problems. The parties do not present post-
institution arguments regarding these reasons. Having reviewed the entirety
of the record developed during trial, we are not persuaded to change our
institution determination that these reasons are insufficient. Inst. Dec. 41–
44.
      As we explained in our Institution Decision, even assuming,
arguendo, that these prior art references are analogous to each other or solve
a common problem in the field of endeavor, this does not suffice as an

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articulated reason with rational underpinning to combine their respective
teachings––more is required to support the legal conclusion of obviousness.
See KSR, 550 U.S. at 418. The Federal Circuit has concluded that merely
asserting that two references “were drawn from the same general field of art
the skilled artisan would have turned to them to solve the problems
identified in the [challenged] Patent” is “simply too conclusory to satisfy [a
Petitioner’s] burden of proving by a preponderance of the evidence that the
skilled artisan would have combined these references in the way of the
claimed invention.” Securus Techs., Inc. v. Glob. Tel*Link Corp., 701 F.
App’x 971, 976 (Fed. Cir. 2017); see Microsoft Corp. v. Enfish, LLC, 662 F.
App’x 981, 990 (Fed. Cir. 2016) (“[The] Board correctly concluded that
[petitioner] did not articulate a sufficient motivation to combine. With
respect to [certain challenged claims, petitioner] gave no reason for the
motivation of a person of ordinary skill to combine [the two references]
except that the references were directed to the same art or same techniques .
. . .”). Accordingly, Petitioner’s contention that the references are similar,
even if true, is insufficient to show why the skilled artisan would have
combined Chen and Eriksson, as well as Chen and GSM 03.64, as set forth
in the Petition.
      Petitioner’s fourth, fifth, and sixth reasons are similarly conclusory.
Even assuming, arguendo, that Chen’s teachings could have been
applicable, relevant, useful, appealing, or “natural for a POSITA to
combine” with other standards or schemes, such as, for example, GSM
03.64, this does not suffice as an articulated reason with a rational
underpinning to combine the respective teachings of the references. See
KSR, 550 U.S. at 418.



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      During oral argument, Petitioner referred to its fourth reason for
combining the references as “market demand.” Tr. 31:4–7. Even assuming,
arguendo, that the record includes evidence supporting Petitioner’s market
demand arguments, the alleged market demand is with respect to the demand
and industry adoption of GSM––not the demand for the combined teachings,
in particular, the adoption of Chen’s teachings in GSM 03.64 or for GSM in
Chen’s teachings. In support of Petitioner’s market demand arguments,
Dr. Kakaes testifies that
      A POSITA would have further been looking for opportunities to
      improve the GSM technical specifications because GSM was in
      a period of transition with new technical standards for the
      General Packet Radio Services (GPRS) and Evolved GPRS
      (EGPRS) being actively developed. GSM had recently
      announced that it was adding the new 8PSK modulation and
      coding schemes, making this a particularly good time to look for
      opportunities to use these new modulation and coding schemes
      (MCSs). To the extent Chen had emphasized the advantages of
      the spread spectrum modulation techniques of CDMA over
      TDMA, the introduction of GSM’s new 8PSK modulation and
      new modulation and coding schemes in Eriksson and GSM 03.64
      would have motivated a POSITA to combine Chen’s teachings
      with each of Eriksson and GSM 03.64 in particular.
Ex. 1023 ¶ 47 (citing Ex. 1001, 1:18–31).
      We discern that Petitioner’s contentions and Dr. Kakaes’s supporting
testimony are premised on the position that because GSM technical
specifications added new modulation and coding schemes, it would have
been obvious to a POSITA to include Chen’s incremental redundancy
teachings. We are not persuaded by this position as it is generic, conclusory,
and not sufficiently supported––Dr. Kakaes’s supporting testimony could
apply to any incremental redundancy retransmission method, not just that
disclosed in Chen. Furthermore, the entire record further does not support a


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finding that that Chen’s alleged disclosure of methods for improving the
efficiency of incremental redundancy techniques and throughput rates would
have been understood, for example, to be above and beyond the efficiency
and throughput rate of the teachings of GSM 03.64 alone.
      Petitioner’s fourth reason asserting that “Chen’s disclosure of methods
for improving the efficiency of incremental redundancy techniques to
improve throughput rate would have appealed to a POSITA who would
understand the relevance of Chen’s teachings to incremental redundancy in
the newly-added EGPRS schemes” is unclear as to whether Petitioner is
arguing that Chen modifies Eriksson or GSM 03.64, or vice versa. Compare
Pet. 72 (citing Ex. 1002 ¶¶ 337–338); Pet. Reply 24, with Pet. 73 (citing
Ex. 1002 ¶¶ 333–340) (“Applying Eriksson and GSM 03.64’s teachings to
Chen would have been applying known techniques to improve the similar
incremental redundancy techniques already taught by Chen in the same
manner.” (emphasis added)).
      Petitioner’s fifth reason that “Chen cross-references a 2G standard
known as ‘IS-95A’” and, as such, “illustrates that it was common to look to
standards as part of any discussion about cellular systems” is similarly
unpersuasive. Pet. 72. We maintain our determination that, at best,
Petitioner’s reasons concern why a POSITA could have combined Chen
with Eriksson or Chen with GSM 03.64, not why a POSITA would have
combined the references. Belden Inc. v. Berk-Tek LLC, 805 F.3d 1064, 1073
(Fed. Cir. 2015) (“[O]bviousness concerns whether a skilled artisan not only
could have made but would have been motivated to make the combinations
or modifications of prior art to arrive at the claimed invention.”); In re
Giannelli, 739 F.3d 1375, 1380 (Fed. Cir. 2014) (“[T]he mere capability of
pulling the handles is not the inquiry that the Board should have made; it

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should have determined whether it would have been obvious to modify the
prior art apparatus to arrive at the claimed rowing machine.”).
      With respect to Petitioner’s sixth reason that combining Chen with
Eriksson or GSM 03.64 constitutes “applying known techniques to improve .
. . similar incremental redundancy techniques” and Petitioner’s seventh,
eighth, and ninth reasons (Pet. 79–81) discussed in further detail below, the
record still lacks clarity as to how Petitioner contends Chen is modified
and/or improved by Eriksson or GSM 03.64 or how Chen itself modifies
and/or improves Eriksson and GSM 03.64, respectively, despite Petitioner
having had the opportunity, post-institution, to address this deficiency.
      With respect to Petitioner’s seventh, eighth, and ninth reasons,
Petitioner relies on all three of Chen, Eriksson, and GSM 03.64 to teach each
element of independent claim 1 (id. at 73–83), without explaining which
reference’s teaching is being used to modify which other reference.
Moreover, Petitioner asserts that “Eriksson or GSM 03.64 . . . could supply
all limitations except for potentially some of the means-plus-function
elements, to invalidate the ’561 claims” (id. at 71), but does not even
indicate which means-plus-function elements Eriksson or GSM 03.64
“potentially” could not supply. As such, the Petition lacks clarity in
identifying which teachings of Eriksson and GSM 03.64 reflect such “known
techniques.” See Adaptics Ltd. v. Perfect Co., IPR2018-01596, Paper 20
(PTAB Mar. 6, 2019) (informative) (denying institution where the Petition
failed to identify the challenges with particularity). Notwithstanding this
lack of clarity, we address both the combination of Chen and Eriksson and
the combination of Chen and GSM 03.64.
      Chen discloses increasing the code rate by using a punctured code
that transmits fewer code symbols for retransmitted data blocks than are

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transmitted for originally-transmitted data blocks (Ex. 1003, 14:30–37) and,
as such, Petitioner’s reasoning that a POSITA would have looked to
Eriksson or GSM 03.64 to increase the code rates because of the benefits of
the same (see Pet. 79–81) is unclear. As Chen discloses increased
puncturing for increased code rates, it is possible that inventors of Chen
appreciated the benefits associated with incremental redundancy, link
adaption, and increased code rate granularity without needing to look to
Eriksson or GSM 03.64.
      Although Petitioner explains why the general concept of an increased
code rate might be beneficial, Petitioner’s seventh reason that “[a] POSITA
would be motivated to increase the code rate in view of Eriksson’s teachings
about the benefits of increased code rate granularity and adaptation to
channel conditions” is unclear as to whether it is Chen’s code rate that is
being increased and why Eriksson’s code rates are an improvement to that of
Chen, particularly in light of Chen’s disclosure that its retransmission is sent
with a higher code rate than its original transmission. Pet. 79 (citing Ex.
1004, 1–2, 5). Further, the purported benefits and efficiency gains of Chen,
the “uniquely good fit” of “GSM’s new spread spectrum MCSs” for Chen’s
teachings in view of “Chen’s support for CDMA’s spread spectrum
modulation techniques,” and/or the ease of implementing Chen’s method in
“radio systems compliant with GSM’s GPRS and EGPRS specifications” are
unpersuasive because there is insufficient evidence of record to support a
finding that a POSITA would have understood that the combinations would
result in any particular improvement over the increased code rates and
incremental redundancy that Petitioner also contends that GSM 03.64
discloses. Pet. Reply 24 (citing Ex. 1002 ¶¶ 46–47; Ex. 1023 ¶ 48)
(emphasis added); see id. at 28–29 (citing Prelim. Resp. 22–23; Ex. 1023 ¶

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46; Ex. 1002 ¶¶ 69–83; Ex. 1005, 39; Ex. 1024, 94:22–95:5 (Mr. Bates
testifying GSM 03.64 “discloses the use of an incremental redundancy
scheme” and “does say it combines them with the retransmitted RLC data
blocks”)).
        With respect to Petitioner’s eighth reason, we more particularly
determine that it is not clear that the second MCS is that of Chen or Eriksson
or GSM 03.64. Id. at 80–81 (citing Ex. 1002 ¶¶ 535–538, 613; Ex. 1004, 3).
A similar lack of clarity exists with respect to Petitioner’s ninth contention
and whether the referenced “second, different puncturing pattern” is that of
Chen, Eriksson, or GSM 03.64. Id. at 81 (citing Ex. 1002 ¶¶ 531–540, 606–
614).
        With respect to Petitioner’s tenth reason, we are also not persuaded.
The finite number of “identified predictable combinations” asserted by
Petitioner concerns the number of Eriksson’s modulation and coding
schemes––it is not clear how the finite number pertains to Chen’s particular
“incremental redundancy” method. In fact, it appears that Eriksson and
GSM 03.64 disclose substantially similar incremental redundancy strategies
in which the code rate of the retransmission can increase the code rate of the
overall transmission. See also Pet. 71 (contending that each of Chen,
Eriksson, and GSM 03.64 individually disclose the limitations of the
claims). To the extent that the Petition could even be considered to indicate
how it relies on the references in its third and fourth challenges, it appears
that Petitioner’s tenth reason cites Eriksson and/or GSM 03.64 to teach the
applicability of 8PSK MCSs to the claims, in particular to dependent claims
4 and 8, which specify particular MCSs defined by EGPRS––not a reason to
combine Chen and Eriksson or Chen and GSM 03.64. Id. at 86–89.



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      For the foregoing reasons, Petitioner’s reasons, individually or
collectively, do not sufficiently explain how or why a POSITA would have
combined Chen and Eriksson, or Chen and GSM 03.64 and, therefore, lack
sufficient rational underpinning. As such, Petitioner does not establish
unpatentability of claims 1–10 over Chen and Eriksson by a preponderance
of the evidence. Nor does Petitioner establish unpatentability of claims 1–10
over Chen and GSM 03.64 by a preponderance of the evidence.
      Independently of Petitioner’s deficient rationale for combining, with
respect to independent claims 5 and 10 in particular, we determine that the
“means for detecting” is lacking in identified structure corresponding to the
“detecting” function. Supra § III.C. As we are unable to conclude what
structure is encompassed by the “means for detecting,” we cannot reach a
conclusion as to whether the combination of Chen and Eriksson or the
combination of Chen and GSM 03.64 teaches or suggests this claim term, or
the subject matter of independent claims 5 and 10. For this additional
reason, we are not persuaded that Petitioner establishes unpatentability of
independent claims 5 and 10 by a preponderance of the evidence, either over
Chen and Eriksson or over Chen and GSM 03.64.
      As claims 6–8 depend from independent claim 5, we further
determine, based on the entire record developed during trial, that Petitioner
does not establish that these claims are unpatentable as obvious over the
combination of Chen and Eriksson or the combination of Chen and GSM
03.64, by a preponderance of the evidence.
                           IV.    CONCLUSION
      For the foregoing reasons, we conclude that Petitioner establishes
unpatentability of claims 1–3 and 9 of the ’561 patent by a preponderance of



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the evidence. 12 We conclude that Petitioner does not establish
unpatentability of claims 4–8 and 10 by a preponderance of the evidence.
Our conclusion regarding the challenged claims is summarized in the chart
below:
                                          Claims     Claims Not
 Claim(s)      35                         Shown        Shown
Challenged U.S.C. § Reference(s)/Basis Unpatentable Unpatentable
1–3, 5–7, 9,
             102    Chen                            5–7, 10
10 13
1–3, 5–7, 9,
             103    Chen               1–3, 9       5–7, 10
10
1–10         103    Chen, Eriksson                  1–10

12
   Should Patent Owner wish to pursue amendment of the challenged claims
in a reissue or reexamination proceeding subsequent to the issuance of this
decision, we draw Patent Owner’s attention to the April 2019 Notice
Regarding Options for Amendments by Patent Owner Through Reissue or
Reexamination During a Pending AIA Trial Proceeding. See 84 Fed. Reg.
16,654 (Apr. 22, 2019). If Patent Owner chooses to file a reissue application
or a request for reexamination of the challenged patent, we remind Patent
Owner of its continuing obligation to notify the Board of any such related
matters in updated mandatory notices. See 37 C.F.R. §§ 42.8(a)(3), (b)(2).
13
   We need not and do not reach whether claims 1–3 and 9 are anticipated by
Chen because we determine that these claims are obvious over Chen. In
final written decisions both before and after SAS Inst., Inc. v. Iancu, 138 S.
Ct. 1348 (2018), the Board has declined to reach grounds challenging claims
that were already held unpatentable. See, e.g., Sure-Fire Elec. Corp. v.
Yongjiang Yin, IPR2014-01448, Paper 56 at 25 (PTAB Feb. 22, 2016), aff’d,
702 F. App’x 981 (Fed. Cir. 2017); SK Hynix Inc. v. Netlist, Inc., IPR2017-
00692, Paper 25 at 40 (PTAB July 5, 2018). The Federal Circuit has
acknowledged the Board’s discretion in this regard. See Boston Sci. Scimed,
Inc. v. Cook Grp. Inc., Nos. 2019-1594, -1604, -1605, 2020 WL 2071962, at
*4 (Fed. Cir. Apr. 30, 2020) (non-precedential) (recognizing that the “Board
need not address issues that are not necessary to the resolution of the
proceeding” and, thus, agreeing that the Board has “discretion to decline to
decide additional instituted grounds once the petitioner has prevailed on all
its challenged claims”).

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                                          Claims     Claims Not
 Claim(s)    35                           Shown        Shown
Challenged U.S.C. § Reference(s)/Basis Unpatentable Unpatentable
1–10       103      Chen, GSM 03.64                 1–10
Overall
                                       1–3, 9       4–8, 10
Outcome

                               V.     ORDER
      In consideration of the foregoing, it is hereby:
      ORDERED that claims 1–3 and 9 of the ’561 patent are shown to be
unpatentable by a preponderance of the evidence;
      ORDERED that claims 4–8 and 10 of the ’561 patent are not shown to
be unpatentable by a preponderance of the evidence; and
      FURTHER ORDERED that, because this a Final Written Decision,
parties to this proceeding seeking judicial review of this Decision must
comply with the notice and service requirements of 37 C.F.R. § 90.2.


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(12) United States Patent                                                              (10) Patent No.:              US 6,529,561 B2
       Sipola                                                                          (45) Date of Patent:                    Mar. 4, 2003

(54)    DATA TRANSMISSION IN RADIOSYSTEM                                                             OTHER PUBLICATIONS

(75)    Inventor: Jussi Sipola, Oulu (FI)                                           Ji et al., “Concatenated Punctured Turbo Reed–Solomon
                                                                                    Codes in a Hybrid FEC/ARQ DS/SSMA Data Network.”
(73)    Assignee: Nokia Networks Oy, Espoo (FI)                                     Dept. of Electrical Engineering and Computer Science,
                                                                                    Univ. of Michigan, Ann Arbor, MI, IEEE, 1999, pp.
(*)     Notice: Subject to any disclaimer, the term of this                         1678-1682.
                      patent is extended or adjusted under 35
                      U.S.C. 154(b) by 0 days.                                                     (List continued on next page.)
(21) Appl. No.: 09/852,298                                                          Primary Examiner Stephen Chin
                                                                                    ASSistant Examiner Kevin Kim
(22) Filed:     May 10, 2001                                                        (74) Attorney, Agent, or Firm- Pillsbury Winthrop LLP
(65)                 Prior Publication Data                                         (57)                   ABSTRACT
        US 2002/0009157 A1 Jan. 24, 2002
                                                                                    The invention relates to a method of transmitting data in a
                Related U.S. Application Data                                       radio System from a transmitter to a receiver, and to a radio
                                                                                    System using the method, a radio transmitter and a radio
(63) Continuation of application No. PCT/FIO0/00755, filed on                       receiver. A transmitter (260) comprises a channel coder
        Sep. 7, 2000.                                                               (202) for channel coding a data block into a coded data block
(30)          Foreign Application Priority Data                                     by using a Selected channel coding and for puncturing the
                                                                                    coded data block by using a first puncturing pattern, and
 Sep. 10, 1999       (FI) ............................................. 1999 1932   transmission means (204) for transmitting the coded data
                                                                                    block punctured by the first puncturing pattern to a receiver
(51) Int. Cl. ................................................ H04L27/20            (264). The receiver (264) comprises a channel decoder (218)
(52) U.S. Cl. .................. 375/295; 375/240.27; 714/755;                      for decoding the received coded data block, means (224) for
                                                                     714/748        detecting a need for retransmission of the received coded
(58) Field of Search ............................ 375/295, 240.24,                  data block, and means (204) for transmitting a retransmis
                     375/240.27; 714/755, 788, 748, 751, 752,                       sion request of the coded data block to the transmitter (260).
                                                     761, 762                       The channel coder (202) increases the code rate of the coded
(56)                     References Cited
                                                                                    data block to be retransmitted by puncturing the coded data
                                                                                    block coded by the channel coding of the original transmis
                 U.S. PATENT DOCUMENTS                                              Sion by using a Second puncturing pattern comprising fewer
                                                                                    Symbols to be transmitted than the first puncturing pattern.
       5,657,325 A   8/1997 Lou et al.                                              The transmission means (204) transmit the coded data block
       5,946,320 A   8/1999 Decker ....................... 370/428                  punctured by the Second puncturing pattern to the receiver
       6,061,387 A * 5/2000 Yi .............          ... 370/208                   (264). The receiver (264) comprises means (222) for com
       6,370,669 B1 * 4/2002 Eroz et al. .................. 714/774
                                                                                    bining a received coded data block (216) punctured by the
             FOREIGN PATENT DOCUMENTS                                               first puncturing pattern and a received coded data block
EP                  T71 O92              5/1997
                                                                                    (220) punctured by the Second puncturing pattern. The
EP                  966 124             12/1999                                     channel decoder (218) decodes the channel coding of the
                                                                                    combined coded data block.
WO           WO 98/31106                 7/1998
WO           WO 98/48517                10/1998
WO           WO OO/25469                 5/2000                                                   10 Claims, 6 Drawing Sheets

                                                                                           USRDATABOCK




           ORIGINA
         TRANSMISSION

                                                                                                            COMBINED CODED
                                                                                                              DATA BLOCK

                                                                                             USERDATABLOCK




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                OTHER PUBLICATIONS                          Feria et al., “Seamless Data-Rate Change Using Punctured
H             “Rate-C      ible P      d C     lutional     Convolutional Codes for Time-Varying Signal-to-Noise
    agenauer,   ate-Compatible Puncture ss OnVOut Ona       Ratio,” Jet Propulsion Laboratory, California Institute of
Codes (RCPC Codes) and Their Applications.” IEEE Trans-     Technology, Pasadena, CA, IEEE, 1995, pp. 342-346
actions on Communication, vol. 36, No. 4, Apr. 1988, pp.               s          s Y-a as   s
389-400.                                                    * cited by examiner




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      500 BEGIN

      502 CHANNEL CODNG ADATA BLOCK NTO A CODED DATA
             BLOCK USING A CHOSEN CHANNEL CODNG

       504 PUNCTURING THE CODED DATA BLOCKWTH A FIRST
                          PUNCTURNG PATTERN

     506 SENDING THE CODED DATA BLOCK BLOCKPUNCTURED
       WITH THE FIRST PUNCTURING PATTERN TO A RECEIVER

        508 DETECTING ANEED FOR RE-TRANSMISSION OF THE
                     RECEIVED CODED DATA BLOCK

     51 O SENDING ARE-TRANSMISSION REO UEST FOR THE CODED
                  DATA BLOCK TO THE TRANSMTER


        512 RASING COOING RATO OF THE DATA BLOCK TO BE
         RE-TRANSMITTED BY PUNCTURING WITH A SECOND
     PUNCTURING PATTERN THE CODED DATA BLOCK CODED WITH
       THE CHANNEL CODING OF THE ORIGINAL TRANSMISSION,
       WHICH SECOND PUNCTURING PATTERN CONTAINS LESS
     SYMBOLS TO BE SENT THAN THE FIRST PUNCTURING PATTERN

    514 SENDING THE CODED DATA BLOCKPUNCTURED WITH THE
          SECOND PUNCTURING PATTERN TO THE RECEIVER

         516 COMBINING THE RECEIVED CODED DATA BLOCK
      PUNCTURED WITH THE FIRST PUNCTURING PATTERN WITH
      THE RECEIVED CODED DATA BLOCKPUNCTURED WITH THE
                  SECONO PUNCTURING PATTERN

       518 DECODING THE CHANNEL CODNG OF THE COMBINED
                       CODED DATA BLOCK

     Fig 5


                                                         Cradlepoint Ex. 1001
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     DATA TRANSMISSION IN RADIO SYSTEM                                    In comparison with the transmission of the block A300,
                                                                       link adaptation is carried out in the transmission of a block
   This application is a continuation of international patent          B 306 by changing the amount of user data. Compared with
application No. PCT/FIO0/00755 filed Sep. 7, 2000, which               the block A300, it is detected that the size of the block B 306
designated the United States, and that international patent            is reduced by half. The code rate of a block 310 to be
                                                                       transmitted has been reduced to /2.
application was published under PCT Article 21(2) in
English.                                                                 Another way to carry out link adaptation is to change the
                                                                       size of a data block to be transmitted over the radio link.
               FIELD OF THE INVENTION                                  Compared with the transmission of the block A300, in the
                                                                       transmission of a block C 312 link adaptation is carried out
   The invention relates to a method of transmitting data in           by changing the Size of the data block to be transmitted. The
a radio System from a transmitter to a receiver, and to a radio        code rate of a block 316 to be transmitted is /2Since the size
System, a radio transmitter and a radio receiver using the             of the data block to be transmitted over the link has been
method. The use of the method is described in EGPRS                    doubled.
(Enhanced General Packet Radio Service).                          15      Under favourable conditions, for example, coding can be
           BACKGROUND OF THE INVENTION
                                                                       reduced, which means that more user payload can be trans
                                                                       ferred. Similarly, one modulation method can be better
   EGPRS (Enhanced General Packet Radio Service) is a                  Suited than the other to certain conditions on the radio
system based on GSM (Global System for Mobile                          interface. Different combinations of modulation and channel
Communications) utilising packet- Switched transmission.               coding can be called modulation and coding Schemes MCS.
EGPRS employs EDGE (Enhanced Data Rates for GSM                           If the coding conditions of a channel change extremely
Evolution) technique in order to increase data transmission            rapidly, it is impossible for the System to optimally Select the
capacity. In addition to GMSK (Gaussian Minimum-Shift                  code rate for the forthcoming transmission in advance.
Keying) modulation normally used in the GSM, 8-PSK                     Incremental redundancy enables better adaptation to chang
(8-Phase Shift Keying) modulation can be used for packet          25   ing conditions. In incremental redundancy, a receiver is
data channels. The purpose is mainly to implement non                  equipped with a memory to Store the bits of radio blockS that
realtime data transmission Services, Such as copying files             have been received erroneously. Retransmitted radio blocks
and use of an Internet browser, but also real-time Services as         are then combined with the stored radio blocks, whereafter
packet-Switched Services for transmitting Speech and Video,            the receiver attempts to decode the block. Since there are
for example. In principle, data transmission capacity can              more coded channel data bits to be used for decoding after
vary from a few kbit/s up to 400 kbit/s.                               the combining and the number of user data bits remains the
   Also other procedures are used in order to increase                 Same, the effective code rate of the block is decreased after
capacity, for example blind detection of modulation, link              retransmission, which makes decoding more feasible. An
adaptation and incremental redundancy.                                 example of such a protocol is the hybrid FEC/ARQ
  Blind detection of modulation means that it is not neces        35   (Forward Error Correction/Automatic Repeat Request),
Sary to Signal to a receiver which modulation method is                which uses error correction coding in order to decrease the
                                                                       number of retransmissions.
being used but the receiver detects the modulation method                The effective code rate of the channel is adapted auto
when it receives a Signal.                                             matically since the channel conditions determine the number
   Link adaptation refers to changing the code rates of           40   of necessary retransmissions, which in turn determines the
blocks to be transmitted on the basis of measurements
                                                                       code rate. FIG. 3A shows the simplest retransmission
carried out on the channel. The code rate can be changed               method for a data block D 318 to be transmitted. An original
between retransmissions of the same block. Another alter
                                                                       transmission 320 is carried out by a code rate 1, and a first
native is to change the code rate between Successive blocks,           retransmission 322 also by a code rate 1. After the first
provided, however, that all transmissions of a single block       45   retransmission the code rate of the combined data block is /2.
are coded by the same code rate. The purpose is to optimize            A Second retransmission would yield a code rate /3, a third
the use of radio resources taking instantaneous variations in          retransmission a code rate /4, and this could be continued
the conditions of the radio interface into account. The
purpose is to optimize user data throughput and to minimize            until it would be possible to decode the combined data
                                                                       block.
delay.
  The code rate of a block refers to the ratio of the number
                                                                  50      The problem with the retransmission method disclosed is
                                                                       that the effective code rates are quantized with relatively
of user data bits to the coded data bits of a channel. If, for         large Steps: after one retransmission the code rate is only half
example, 100 user data bits are coded into 200 data bits to            of the original. This means that the capacity of the System is
be transmitted over the channel, the code rate obtained is             wasted Since a Smaller reduction in the code rate would often
100/200=/2.                                                       55   be Sufficient. A Solution that has been provided discloses a
  FIG. 3A shows examples of changing the code rate of a                method wherein the data block to be transmitted is divided
block. In FIG. 3A, a data block to be transmitted is shown             into Sub-blocks, for example into two Sub-blocks, the num
above the X-axis, and blockS transmitted actually over the             ber of the sub-blocks being denoted by D, which is described
radio link are shown below the X-axis. The Y-axis denotes              in FIG. 3A by a block E 324. The code rate used in the
passage of time. Block sizes are Scaled in accordance with        60   transmission of an original block 326 is 2. After a first
each other, i.e. the larger the block, the more bits to be             retransmission 328 the code rate is 1, after a Second retrans
transmitted Said block comprises.                                      mission 330 the code rate is 2/3, after a third retransmission
  Ablock A300 is to be transmitted over the radio link. First          the code rate would be /2, after a fourth retransmission the
transmission 302 fails, so the transmission is repeated 304.           code rate would be 2/S. The drawback of this method is that
Link adaptation was not carried out, Since as can be seen         65   even under ideal channel conditions transmission of at least
from FIG. 3A, the blocks 302, 304 are equal in size. The               D data block(s) is necessary before the data block can be
code rate in both transmissions 302, 304 is 1.                         decoded, i.e. the code rate must be 1 at most.

                                                                        Cradlepoint Ex. 1001
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      BRIEF DESCRIPTION OF THE INVENTION                             block channel-coded by a Selected channel coding and
   An object of the invention is thus to provide a method and        punctured by a first puncturing pattern; a channel decoder
an apparatus implementing the method So as to enable                 for decoding the received coded data block; means for
efficient Simultaneous utilization of link adaptation and            detecting a need for retransmission of the received coded
incremental redundancy. This is achieved by the method               data block; means for transmitting a retransmission request
disclosed below of transmitting data in a radio System from          of the coded data block to a transmitter. The reception means
                                                                     receive the retransmitted coded data block whose code rate
a transmitter to a receiver, the method comprising: channel          has been increased by puncturing the coded data block
coding a data block into a coded data block by using a               coded by the channel coding of the original transmission by
Selected channel coding, puncturing the coded data block by          using a Second puncturing pattern comprising fewer Symbols
using a first puncturing pattern; transmitting the coded data        to be transmitted than the first puncturing pattern; means for
block punctured by the first puncturing pattern to the               combining the received coded data block punctured by the
receiver; detecting a need for retransmission of the received        first puncturing pattern and the received coded data block
coded data block; transmitting a retransmission request of           punctured by the Second puncturing pattern; a channel coder
the coded data block to the transmitter. The method further
comprises: increasing the code rate of the coded data block
                                                                15   decodes the channel coding of the combined coded data
                                                                     block.
to be retransmitted by puncturing the coded data block
coded by the channel coding of the original transmission by             The preferred embodiments of the invention are disclosed
using a Second puncturing pattern comprising fewer Symbols           in the dependent claims.
to be transmitted than the first puncturing pattern; transmit          The invention is based on the idea that the Same channel
ting the coded data block punctured by the Second punctur            coding has been used in the coding of the originally trans
ing pattern to the receiver; combining the received coded            mitted data block and the retransmitted data block, and the
data block punctured by the first puncturing pattern and the         code rates of the two transmissions are made to differ by
received coded data block punctured by the Second punc               using different puncturing. Hence, despite the different code
turing pattern; and decoding the channel coding of the          25
                                                                     rates, the data blockS can be combined.
combined coded data block.                                              The advantage achieved by the method and apparatus of
   The invention also relates to a radio System comprising:          the invention is that there is a Sufficiently dense range of
a transmitter and a receiver having a radio connection to the        effective code rates to enable the code rate required by the
transmitter; the transmitter comprising a channel coder for          channel conditions to be Selected relatively accurately,
channel coding a data block into a coded data block by using         which Saves the valuable radio resource of the System.
a Selected channel coding and for puncturing the coded data                   BRIEF DESCRIPTION OF THE DRAWINGS
block by using a first puncturing pattern, and transmission
means for transmitting the coded data block punctured by               The invention is now described in closer detail in con
the first puncturing pattern to the receiver; the receiver           nection with the preferred embodiments with reference to
comprising a channel decoder for decoding the received          35   the accompanying drawings, in which
coded data block, means for detecting a need for retrans                FIG. 1A is a block diagram of a cellular radio network,
mission of the received coded data block, and means for
transmitting a retransmission request of the coded data block          FIG. 1B shows a circuit-switched connection,
to the transmitter. The channel coder increases the code rate          FIG. 1C shows a packet-switched connection,
of the coded data block to be retransmitted by puncturing the   40     FIG. 2 is a simplified block diagram showing a transmitter
coded data block coded by the channel coding of the original         and a receiver used in the invention,
transmission by using a Second puncturing pattern compris              FIG. 3A shows known methods already described for
ing fewer Symbols to be transmitted than the first puncturing        implementing link adaptation and incremental redundancy,
pattern; the transmission means transmit the coded data                FIG. 3B shows how combined link adaptation and incre
block punctured by the Second puncturing pattern to the         45   mental redundancy are implemented in accordance with the
receiver; the receiver comprises means for combining a               invention,
received coded data block punctured by the first puncturing
pattern and a received coded data block punctured by the               FIG. 4 illustrates an example of combining an originally
Second puncturing pattern; the channel decoder decodes the           transmitted data block and a retransmitted data block in
channel coding of the combined coded data block.                50
                                                                     accordance with the invention, and
  The invention further relates to a radio transmitter com             FIG. 5 is a flow diagram illustrating a data transmission
prising: a channel coder for channel coding a data block into        method of the invention.
a coded data block by using a Selected channel coding and                         DETAILED DESCRIPTION OF THE
for puncturing the coded data block by using a first punc                                  INVENTION
turing pattern; transmission means for transmitting the         55
coded data block punctured by the first puncturing pattern to           Referring to FIG. 1A, a typical Structure of a radio System
a receiver; means for receiving a retransmission request of          of the invention and its connections to a fixed telephone
the coded data block. The channel coder increases the code           network and a packet transmission network will be
rate of the coded data block to be retransmitted by punctur          described. FIG. 1A only includes essential blocks for
ing the coded data block coded by the channel coding of the     60   describing the invention, but it will be obvious to one skilled
original transmission by using a Second puncturing pattern           in the art that a common packet cellular radio network also
comprising fewer Symbols to be transmitted than the first            includes other functions and Structures that need not be
puncturing pattern; the transmission means transmit the              described in closer detail here. The invention is most pref
coded data block punctured by the Second puncturing pattern          erably used in EGPRS. The invention functions both on the
to the receiver.                                                65   uplink and the downlink.
   The invention still further relates to a radio receiver              A cellular radio network typically comprises the infra
comprising: reception means for receiving a coded data               Structure of a fixed network, i.e. a network part and Sub
                                                                       Cradlepoint Ex. 1001
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scriber terminals 150 that can be fixedly located, located in         mission network 146 the packet transmission network 142
a vehicle or portable terminals to be carried around, for             resembles a Sub-network, the public packet transmission
example. The network part comprises base stations 100.                network 146 being able to address packets to the subscriber
Communicating with the several base stations 100, a base              terminal 150 located therein and to receive packets there
station controller 102 in turn controls the base stations in a        from.
centralized manner. The base station 100 comprises trans                 The packet transmission network 142 is typically a private
ceivers 114. The base station 100 typically comprises 1 to 16         network which uses an Internet protocol carrying Signalling
transceivers 114. One transceiver 114 provides one TDMA               and tunnelled use data. AS regards the architecture and
(Time Division Multiple Access) frame, i.e. typically eight           protocols below the Internet protocol layer, the Structure of
time slots, with radio capacity.                                      the network 142 may vary operator-specifically.
   The base station 100 comprises a control unit 118 con                 The public packet transmission network 146 can be a
trolling the operation of the transceivers 114 and a multi            global Internet, for example, to which a terminal 148, a
plexer 116. The multiplexer 116 places the traffic channels           Server computer, for example, with a connection thereto
and the controlling channels used by the plurality of trans           wants to transfer packets to the subscriber terminal 150.
ceivers 114 over one transmission link 160. The structure of     15
                                                                         FIG. 1B shows how a circuit-switched transmission link
the transmission link 160 is clearly defined and it is called         is established between the Subscriber terminal 150 and the
an Abis interface.                                                    terminal 136 of the public Switched telephone network. The
  The transceivers 114 of the base station 100 communicate            bold line in the figures denote how data travels through the
with an antenna unit 112 implementing a dupleX radio                  system on the air interface 170, from the antenna 112 to the
connection 170 to the Subscriber terminal 150. Also in the            transceiver 114 and from there, multiplexed at the multi
duplex radio connection 170, the structure of the frames to           plexer 116 along the transmission link 160 to the Switching
be transmitted is defined in detail, and it is called an air          field 120, where a connection is established to the output
interface.                                                            heading to the transcoder 122, and from there onwards
   The Subscriber terminal 150 can be a common mobile
                                                                 25
                                                                      through the connection established in the mobile Services
telephone, for example, to which a portable computer 152              Switching centre 132 to the terminal 136 connected to the
can be connected by an extension card, which portable                 public switched telephone network 134. In the base station
computer can be used in ordering and processing packets.              100 the control unit 118 controls the multiplexer 116 in the
   The base station controller 102 comprises a Switching              transmission, and in the base station controller 102 the
field 120 and a control unit 124. The Switching field 120 is          control unit 124 controls the Switching field 120 to carry out
used for Switching Speech and data and for connecting                 a correct connection.
Signalling circuits. The base Station System comprising the              FIG. 1C shows a packet-switched transmission link. The
base station 100 and the base station controller 102 further          portable computer 152 is now connected to the subscriber
comprises a transcoder 122. The transcoder 122 is usually             terminal 150. The bold line denotes how data to be trans
located as close to a mobile Services Switching centre 132 as    35   ferred travels from the server computer 148 to the portable
possible Since Speech can thus be transmitted in the form of          computer 152. Naturally, data can also be transferred in the
cellular radio network between the transcoder 122 and the             opposite direction, i.e. from the portable computer 152 to the
base station controller 102 by using as little transmission           server computer 148. Data travels through the system on the
capacity as possible.                                                 air interface 170, i.e. the Um interface, from the antenna 112
  The transcoder 122 converts the different digital coding       40   to the transceiver 114 and from there, multiplexed in the
modes of Speech used between a public telephone network               multiplexer 116 along the transmission link 160 on the Abis
and a mobile telephone network into compatible ones, for              interface to the Switching field 120, where a connection is
example from the 64 kbit/s form of the fixed network into             established to the output heading to the serving GPRS
another form (13 kbit/s, for example) and vice versa. The             support node 140 on the GB interface, from the serving
control unit 124 performs call control, mobility                 45   GPRS support node 140 data is supplied along the packet
management, collection of Statistical data and Signalling.            transmission network 142 through the gateway GPRS Sup
  As can be seen from FIG. 1A, the Switching field 120 can            port node 144 and is connected to the server computer 148
perform Switching (depicted by black dots) to a public                connected to the public packet transmission network 146.
switched telephone network PSTN 134 via the mobile                       For the sake of clarity, FIGS. 1B and 1C do not describe
Services Switching centre 132 and to a packet transmission       50   a case wherein both circuit-Switched and packet-Switched
network 142. A typical terminal 136 in the public Switched            data is transferred simultaneously. However, this is both
telephone network 134 is a common telephone or an inte                feasible and common Since the capacity free from circuit
grated services digital network ISDN telephone.                       Switched data transmission can be flexibly used to imple
   The connection between the packet transmission network             ment packet-Switched transmission. A network can also be
142 and the Switching field 120 is established by a serving      55   built wherein circuit-Switched data is not transferred at all,
GPRS support node SGSN 140. The serving GPRS support                  only packet data. In Such a case, the Structure of the network
node 140 serves to transfer packets between the base station          can be simplified.
system and a gateway GPRS Support node GGSN 144, and                     Let us return to FIG. 1C. The network part of the packet
to keep a record of the location of the Subscriber terminal           cellular radio network thus comprises the base station 100
150 in its area.                                                 60   and the transceiver 114 implementing the Um interface at
  The gateway GPRS support node 144 connects the public               the base Station 100.
packet transmission network 146 and the packet transmis                  In addition to the above, two specific elements are known
sion network 142. An Internet protocol or X.25 protocol can           in the GPRS: a channel codec unit CCU and a packet control
be used on the interface. By encapsulation, the gateway               unit PCU. The CCU is responsible for channel coding,
GPRS Support node 144 hides the internal structure of the        65   including forward error coding FEC, and interleaving, radio
packet transmission network 142 from the public packet                channel measurement functions, Such as quality level of a
transmission network 146, So for the public packet trans              received Signal, reception power of a received signal, and

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information relating to measurements of timing advance.                 PCU, and the PCU generates a NACK message which the
The tasks of the PCU include Segmenting and re-assembling               PCU then transmits to the CCU to be transmitted to the radio
a logical link control LLC frame, automatic repeat request              path.
ARQ functions, scheduling a packet data channel PDCH,                     AS a result from this retransmission request, the code rate
channel access control and radio channel management func                of the coded data block to be retransmitted is increased in
tions.                                                                  block 512 by puncturing the coded data block 402 coded by
  A CCU 182 is located in the base station 100 and,                     the channel coding of the original transmission by using a
depending on the implementation, it can be regarded as a                Second puncturing pattern 406. The Second puncturing pat
time-slot-Specific or a transceiver -Specific unit. A PCU               tern 406 comprises fewer symbols to be transmitted than the
180A/180B is connected to the CCU 182 through the Abis                  first puncturing pattern 404. In the example of FIG. 4, the
interface. The PCU can be located at the base station 100, the          second puncturing pattern 406 comprises bits 100100100,
base station controller 102 or the serving GPRS Support                 i.e. only the first and the third symbol thereafter are retained,
node 140. FIG. 1C shows the PCU located at the base station             while other symbols are removed.
controller 102 or the serving GPRS Support node 140, but                   In block 514, a coded data block 410 punctured by the
for the sake of clarity the PCU is not shown located at the        15
base Station 100.                                                       Second puncturing pattern 406 is transmitted to the receiver.
                                                                        In accordance with FIG. 4, the punctured and coded data
  Next, FIG. 5 shows the method of the invention for                    block 410 used in this retransmission comprises symbols
transmitting data in a radio System from a transmitter to a             101, i.e. the first, fourth, and seventh symbol of the original
receiver. In addition, an example of FIG. 4 will be described.          channel-coded block 402.
The method is initiated in block 500.
  In block 502, a data block 400 is channel-coded into a                  Next, in block 516, the received coded data block 408
                                                                        punctured by the first puncturing pattern 404 and the
coded data block 402 by using a Selected channel coding. In             received coded data block 410 punctured by the second
the example of FIG. 4, the data block 400 comprising user               puncturing pattern 406 are combined. The data blocks can be
data is coded by a code rate /3, i.e. each data Symbol is          25   combined because both data blocks 408, 410 are punctured
represented by three channel-coded symbols. For the sake of             versions of the same coded data block 402. In the example
Simplicity, it is assumed in the example that there are three           of FIG. 4, the second, third, fifth, sixth, eighth and ninth
user data Symbols, in which case there are nine channel                 symbol of a combined coded data block 412 are obtained
coded symbols, i.e. a bit sequence 111000111. In the present            from the coded data block 408 punctured by the first
application, channel coding refers to a known method of                 puncturing pattern 404, and the first, fourth and Seventh
performing channel coding, for example block coding, con                symbol are obtained from the coded data block 410 punc
volutional coding or Some coding method developed from                  tured by the Second puncturing pattern 406. In the example,
convolutional coding, excluding, however, puncturing from               the puncturing patterns 404, 406 are completely separate, i.e.
channel coding.                                                         no symbol of the coded data block 402 is present both in the
   Next, in block 504, the coded data block 402 is punctured       35   punctured block 408 and the punctured block 410. This is
by using a first puncturing pattern 404. Puncturing refers to           not necessary, however, but the Same Symbol of the coded
removal coding, i.e. a procedure where the number of coded              data block 402 can occur in more than one punctured block
Symbols is decreased by removing a certain number of                    408, 410. It is, however, preferable that the symbols to be
symbols. The symbols to be removed can be defined by a                  transmitted of the first puncturing pattern 404 and the second
puncturing pattern. In the example, the first puncturing           40   puncturing pattern 406 together comprise as many of the
pattern 404 comprises bits 011011011. The Obit denotes that             symbols of the coded data block 402 as possible.
the channel-coded symbol located at the point in question is
removed, while the 1 bit is not removed. Hence, the first                  Finally, the channel coding of the combined coded data
puncturing pattern 404 removes the first symbol and every               block 412 is decoded in block 518. When a Viterbi decoder
third symbol thereafter. In a special case, the first puncturing   45
                                                                        is used for decoding the convolutional coding used as the
pattern 404 can be such that it does not remove any symbol.             channel coding, it is then more likely that the Soft bit
   In block 506, a coded data block 408 punctured by the first          decisions of Symbols that have received more energy are
puncturing pattern 404 is transmitted to the receiver. In               more certain, depending, of course, on the temporary cir
accordance with FIG. 4, the punctured coded data block 408              cumstances on the channel. After the channel coding is
used in this original transmission comprises Symbols               50
                                                                        decoded, a data block 414 comprising user data is obtained.
110011, i.e. the second, third, fifth, sixth, eighth and ninth             When the method is used it is preferable that the code rate
original channel-coded Symbol.                                          of the punctured coded data block does not exceed 1. Then,
  In block 508, a need for retransmission of the received               under favourable circumstances, only the original transmis
coded data block 408 is detected. The need for retransmis               Sion is required in order to carry out decoding Successfully.
Sion means that the receiver cannot decode the received data       55
block 408. This can be detected either by an error detection                                       TABLE 1.
code or by the fact that an error correcting code cannot                                                         Amount of     Amount of
correct errors occurring on the channel with Sufficient cer                                                     User Data in    Data in
tainty.                                                                                              Number of One Radio       One Radio
                                                                                                    Data Blocks    Block         Block
   In block 510, a retransmission request of the coded data        60
                                                                                 Code                 in Radio   (Excluding    (Excluding
block is then transmitted to the transmitter. The retransmis              MCS    Rate Modulation        Block     Header)       Header)
Sion request can be carried out as a negative acknowledge
ment NACK message, for example. Correspondingly, when                    MSC-9
                                                                         MCS-8
                                                                                 1.O
                                                                                 O.92
                                                                                        8PSK
                                                                                        8PSK
                                                                                                         2
                                                                                                         2
                                                                                                                 592 - 592
                                                                                                                 544 + 544
                                                                                                                               612 + 612
                                                                                                                               612 + 612
no retransmission is needed any longer, an acknowledge                   MCS-7   O.76   8PSK             2       448 + 448     612 + 612
ment ACK message can be transmitted. This can be imple             65    MCS-6   O.49   8PSK             1.         592          1248
mented in practice for example Such that the CCU, after                  MCS-5   O.37   8PSK             1.         448          1248
detecting an error, transmits a bad frame indicator to the

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                                                                           FIG. 2 describes how the radio system of the invention
                       TABLE 1-continued                                 can be implemented. The structure of a radio transmitter 260
                                                                         is described on the left side of FIG. 2 and the structure of a
                                         Amount of     Amount of
                                        User Data in    Data in          radio receiver 264 on the right side of the figure. Only parts
                             Number of One Radio       One Radio         of the radio transmitter 260 and the radio receiver 264 that
                            Data Blocks    Block         Block           are essential for the invention are described.
         Code                 in Radio   (Excluding    (Excluding           The radio transmitter 260 comprises a channel coder 202
  MCS    Rate Modulation        Block     Header)       Header)          for channel coding a data block 270 into a coded data block
 MCS-4   10     GMSK             1.         352           372            by using a Selected channel coding and for puncturing the
 MCS-3   O.80   GMSK             1.         296           372            coded data block by using a first puncturing pattern. The
 MCS-2   0.66   GMSK             1.         224           372            coded data block punctured by the first puncturing pattern is
 MCS-1   O.S3   GMSK             1.         176           372
                                                                         transmitted to a receiver by transmission means 204. The
                                                                         transmission means 204 comprise a modulator modulating
 Table 1 shows different modulation and coding schemes                   digital signals to a radio frequency carrier wave. The trans
MCS of EGPRS. Of each MCS, the code rate of its original            15   mission means can further comprise filters and amplifiers.
transmission, modulation method used, number of data                        The radio transmitter 260 comprises means 232 for
blocks in a radio block, amount of user data (in bits) in a              receiving a retransmission request of the coded data block
radio block and the amount of coded data (in bits) in one                transmitted on a radio connection 250. In order to receive the
radio block is disclosed.                                                retransmission request, the radio transmitter 260 comprises
  A radio block is transmitted every 20 ms. The radio block              a receiver, So the radio transmitter is, in fact, a transceiver.
                                                                           The channel coder 202 increases the code rate of the
can be modulated using GMSK, whereby the radio block                     coded data block to be retransmitted by puncturing the
comprises 464 raw bits, or then modulation can be carried                coded data block coded by the channel coding of the original
out by using 8-PSK, whereby the radio block comprises                    transmission by using a Second puncturing pattern that
1392 raw bits. Modulation and coding schemes MCS-7,                 25   comprises fewer symbols to be transmitted than the first
MCS-8 and MCS-9 comprise two coded data blocks in each                   puncturing pattern. The transmission means 204 transmit the
radio block. The sizes of user data blocks are the Same in
MCS-6 and MCS-9, and in MCS-5 and MCS-7.                                 coded data block punctured by the Second puncturing pattern
                                                                         to the receiver.
   When the method of the invention is used, a preferable                   The radio receiver 264 comprises reception means 210 for
combination of the modulation and coding Schemes used in                 receiving the coded data block channel-coded by the
EGPRS in an original transmission and in a retransmission                Selected channel coding and punctured by the first punctur
is one of the following:                                                 ing pattern. The reception means 210 comprise a filter to
   modulation and coding scheme six MCS-6 and modula                     block frequencies outside a desired frequency band. Next,
     tion and coding scheme nine MCS-9,                                  the Signal is converted to intermediate frequency or directly
   modulation and coding scheme five MCS-5 and modula               35   to baseband, in which form the Signal is Sampled and
     tion and coding scheme seven MCS-7, and                             quantized at an analogue/digital converter. An optional
   modulation and coding Scheme Six MCS-6 using padding                  equalizer compensates for interference, for example inter
     bits and modulation and coding scheme eight MCS-8.                  ference caused by multipath propagation.
   Thus, the invention does not require any changes in the                 A detected Signal 212 is Supplied to a channel decoder 218
headers or in the Structures of the data blockS.                    40   decoding the received coded data block.
   In all modulation and coding Schemes, convolutional                      The radio receiver 264 comprises means 224 for detecting
coding is used at a code rate /3. For example when an                    a need for retransmission of the received coded data block,
original transmission is carried out by using MCS-6, after               and means 226 for transmitting the retransmission request of
channel coding the 612 user bits (592 bits+header) are                   the coded data block to the transmitter 260 by using the radio
represented by 1836 bits, from which, after puncturing in           45   link 250. The means 226 are implemented by a common
accordance with the example of FIG. 4, each user data                    radio transmitter, So the radio receiver 264 is a transceiver.
Symbol is represented by approximately two channel-coded                    The reception means 210 receive a retransmitted coded
symbols, i.e. 1250 bits. The code rate is thus 0.49. By using            data block 220 whose code rate has been increased by
MCS-9 in retransmission, the 612 user data symbols                       puncturing the coded data block coded by the channel
(including header) are represented by 1836 bits, from which,        50   coding of the original transmission by using the Second
after puncturing in accordance with the example of FIG. 4,               puncturing pattern. The Second puncturing pattern com
612 bits remain, i.e. the code rate is 1. The code rate of the           prises fewer Symbols to be transmitted than the first punc
combined data block obtained is 0.33, i.e. approximately /3.             turing pattern.
Indeed, the example of FIG. 4 roughly describes this com                    The radio receiver 264 further comprises means 222 for
bination of the modulation and coding Schemes, simplified,          55   combining a received coded data block 216 punctured by the
however, to three user data Symbols only. Based on what has              first puncturing pattern and the coded data block 220 punc
been disclosed above, it is obvious to one skilled in the art            tured by the Second puncturing pattern. The coded data
how the method of the invention is applied to other com                  block 216 originally received is thus stored in the memory
binations of modulation and coding Schemes.                              of the receiver. The channel decoder 218 decodes the
   FIG. 3B is a simplified schematic block diagram further          60   channel coding of the combined coded data block.
showing how the method of the invention differs from the                   The invention is preferably implemented by software,
prior art. When a data block F 332 is to be transferred over             whereby the method of the invention requires relatively
the radio link, it can first 334 be transmitted at a certain code        Simple Software changes in a closely-defined area in the
rate and a retransmission 336 can then be carried out by                 radio transmitter 260 and the radio receiver 264. The chan
using another code rate. The invention lies particularly in the     65   nel coder 202, the channel decoder 218, the means 224, 234
fact that these transmissions 334, 336 with different code               for processing retransmission requests and the means 222
rates can be combined by using incremental redundancy.                   for combining are preferably implemented as Software, for

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example as Software to be executed in a general purpose                   5. A radio System comprising:
processor. Implementation by hardware is also feasible, for               a transmitter and a receiver having a radio connection to
example as application Specific integrated circuit ASIC or as                the transmitter;
control logic constructed from Separate components.                       the transmitter comprising a channel coder for channel
   The cases described in the examples are basic cases, the                  coding a data block into a coded data block by using a
invention disclosed in the claims also covers different com                  Selected channel coding and for puncturing the coded
bined cases, for example a case wherein the original trans                   data block by using a first puncturing pattern, and
mission and a first retransmission are carried out using the                 transmission means for transmitting the coded data
                                                                             block punctured by the first puncturing pattern to the
Same code rate, and a Second retransmission is carried out         1O        receiver; and
using an increased code rate. Similarly, a case is also feasible          the receiver comprising a channel decoder for decoding
wherein more than one retransmission is carried out by using                 the received coded data block, means for detecting a
an increased code rate, a combined coded data block then                     need for retransmission of the received coded data
being generated from a desired number of received data                       block, and means for transmitting a retransmission
blocks. The essential point for the invention only is that the     15        request of the coded data block to the transmitter;
combined coded data block is generated from at least two                     wherein:
data blocks coded by different code rates.                                the channel coder increases the code rate of the coded data
   Although the invention has been described above with                      block to be retransmitted by puncturing the coded data
reference to the example in accordance with the accompa                      block coded by the channel coding of the original
nying drawings, it is obvious that the invention is not                      transmission by using a Second puncturing pattern
restricted thereto but can be modified in many ways within                   comprising fewer Symbols to be transmitted than the
the Scope of the inventive idea disclosed in the attached                    first puncturing pattern;
claims.
  What is claimed is:                                                     the transmission means transmit the coded data block
   1. A method of transmitting data in a radio System from                   punctured by the Second puncturing pattern to the
a transmitter to a receiver, the method comprising:                25        receiver;
                                                                          the receiver comprises means for combining a received
   channel coding a data block into a coded data block by                    coded data block punctured by the first puncturing
      using a Selected channel coding,                                       pattern and a received coded data block punctured by
   puncturing the coded data block by using a first punctur                  the Second puncturing pattern; and
      ing pattern;                                                        the channel decoder decodes the channel coding of the
   transmitting the coded data block punctured by the first                  combined coded data block.
      puncturing pattern to the receiver;                                  6. The radio system of claim 5, wherein the symbols to be
   detecting a need for retransmission of the received coded            transmitted of the first puncturing pattern and the second
     data block;                                                        puncturing pattern together comprise as many of the Sym
                                                                   35   bols of the coded data block as possible.
  transmitting a retransmission request of the coded data
     block to the transmitter;                                             7. The radio system of claim 5, wherein the code rate of
  increasing the code rate of the coded data block to be                the punctured coded data block does not exceed 1.
    retransmitted by puncturing the coded data block coded                 8. The radio system of claim 5, wherein the combination
    by the channel coding of the original transmission                  of the modulation and coding schemes used in EGPRS in an
                                                                   40
    using a Second puncturing pattern including fewer                   original transmission and in a retransmission is one of the
                                                                        following:
    Symbols to be transmitted than the first puncturing                    modulation and coding Scheme Six and modulation and
     pattern;
                                                                              coding Scheme nine,
  transmitting the coded data block punctured by the Second                modulation and coding Scheme five and modulation and
    puncturing pattern to the receiver;                            45
                                                                              coding Scheme Seven, and
  combining the received coded data block punctured by the                 modulation and coding Scheme six using padding bits and
    first puncturing pattern and the received coded data                      modulation and coding Scheme eight.
    block punctured by the Second puncturing pattern; and                  9. A radio transmitter comprising:
  decoding the channel coding of the combined coded data           50      a channel coder for channel coding a data block into a
     block.                                                                   coded data block by using a Selected channel coding
  2. The method of claim 1, wherein the symbols to be                         and for puncturing the coded data block by using a first
transmitted of the first puncturing pattern and the Second                    puncturing pattern;
puncturing pattern together comprising as many of the                      transmission means for transmitting the coded data block
symbols of the coded data block as possible.                       55         punctured by the first puncturing pattern to a receiver;
  3. The method of claim 1, wherein the code rate of the                     and
punctured coded data block does not exceed 1.                             means for receiving a retransmission request of the coded
  4. The method of claim 1, wherein a combination of                         data block; wherein:
modulation and coding schemes used in an EGPRS in an                      the channel coder increases the code rate of the coded data
original transmission and in a retransmission being one of         60        block to be retransmitted by puncturing the coded data
the following:                                                               block coded by the channel coding of the original
   modulation and coding Scheme Six and modulation and                       transmission using a Second puncturing pattern com
     coding Scheme nine,                                                     prising fewer symbols to be transmitted than the first
   modulation and coding Scheme five and modulation and                      puncturing pattern;
     coding Scheme Seven, and                                      65     the transmission means transmit the coded data block
   modulation and coding Scheme six using padding bits and                   punctured by the Second puncturing pattern to the
     modulation and coding Scheme eight.                                     receiver.

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10. A radio receiver comprising:                                   ing the coded data block coded by the channel coding
reception means for receiving a coded data block channel           of the original transmission by using a Second punc
  coded by a Selected channel coding and punctured by a            turing pattern comprising fewer Symbols to be trans
  first puncturing pattern;                                        mitted than the first puncturing pattern;
a channel decoder for decoding the received coded data     5
  block;                                                        the reception means includes means for combining the
                                                                   received coded data block punctured by the first punc
means for detecting a need for retransmission of the               turing pattern and the received coded data block punc
  received coded data block, and
means for transmitting a retransmission request of the             tured by the Second puncturing pattern;
  coded data block to a transmitter;                            a channel decoder decodes the channel coding of the
wherein:                                                          combined coded data block.
the reception means receive the retransmitted coded data
  block whose code rate has been increased by punctur




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